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EXHIBIT 1

DMEAST #12432896 v1
Klehr Harrison Harvey Branzburg LLP

457 Haddonfield Road

Suite 510
Cherry Hill, NJ 08002-2220

. Case

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Michael A. Iaconelli, Esquire

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(A Pennsylvania Limited Liability Partnership) - FILED
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Attorneys for Plaintiffs, . , LAW DIVISION
Trocki Hotels, LP, Trocki Holding, Inc.,
tra Trocki and Shari Trocki

 

Trocki Hotels, LP, Trocki Holding, Inc., : SUPERIOR COURT

Ira Trocki and Shari Trocki, : OF NEW JERSEY
: LAW DIVISION
Plaintiffs, : ATLANTIC COUNTY

Choice Hotels International, Inc., ; Civil Action
Defendant, _ : COMPLAINT

 

Plaintiffs, Trocki Hotels, LP, a New Jersey Limited Partnership, Trocki Holding Inc.,
its General Partner, Ira Trocki, individually, and Shari Trocki, individually (hereinafter
collectively referred to as “Franchisee”), bring this Complaint against defendant, Choice

Hotels International, Inc., a Delaware Corporation (hereinafter “Choice”), and states as

‘|| follows:

I. INTRODUCTION AND PARTIES

A This Complaint arises out of a franchise agreement between the parties and
claims breach of express and implied contract covenants, and violations of the New Jersey
Franchise Practices Act, NISA §56:10-1 et seg. (the “Franchise Act”).

2, Plaintiffs are individual residents of New Jersey and/or duly constituted
business entities formed under the laws of the State of New Jersey, having an address at 631

Tilton Road, Northfield, New Jersey 08225.

 

 

vs. ) DOCKET NO. LL AQT © - LO
Suite 510
Cherry Hill, NJ 08002-2220

Klehr Harrison Harvey Branzburg LLP
457 Haddonfield Road

Case 1

 

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3. Upon information and belief, defendant Choice is a corporation formed under
the laws of the State of Delaware, with a registered address and principal place of business
located at 10750 Columbia Pike, Silver Spring, Maryland 20901.

Il. JURISIDICTION AND VENUE
Jurisdiction

4, This Court has jurisdiction over defendant inasmuch as: (i) defendant has
regularly conducted business in the State of New Jersey; (ii) defendant has had systematic
and continuous contacts with the residents of, and in, the State of New Jersey; and (ii) the
events giving rise to this action took place in the State of New Jersey, and the nature of relief
sought herein permits adjudication in this forum.

Venue

5. ° Venue for this action is properly laid in Atlantic County pursuant to Rules
4:3-2(a)(3) and 4:3-2(b) of the New Jersey Rules of Civil Procedure because: (i) the within
cause of action arose in Atlantic County; and (ii) plaintiffs reside, and/or have a principal
place of business located, in Atlantic County.

Il. FACTUAL BACKGROUND

A. Creation of the Comfort Inn Franchise
6. On on about May 6, 1987, Choice and-an original franchisee (the “Original
Franchisee”) entered into a Franchise Agreement, with addendum (the “Franchise
Agreement”), pursuant to which the Original Franchisee was granted the right to operate a
Comfort Inn hotel at 7095 Black Horse Pike, West Atlantic City, New Jersey 08232 (the
“Comfort Inn Franchise”). .
7. Certain additional agreements were entered into -in connection with Choice’s

granting of the Comfort Inn Franchise to the Original Franchisee, including a Technology

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Services Agreement And Software License, whereby Choice granted the Original Franchisee
a license to use Choice’s reservation system and related software in connection with the
operation of the Comfort Inn Franchise.

8. Thereafter, on November 21, 2003, Choice and the Franchisee entered into an
Assumption Agreement whereby Franchisee permanently assumed the obligations of the
Original Franchisee under the Franchise Agreement and the Technology Agreement And
Software License. (A true and correct copy of the Assumption Agreement is attached as
Exhibit “1” hereto -- to which are attached the Franchise Agreement and the Technology
Agreement And Software License as Exhibits “A” and “B,” respectively -- and is
incorporated by reference herein.)

9. | The Assumption Agreement provides that May 21, 1987 would be the
“Commencement Date” of the Comfort Inn Franchise for purposes of determining the term
of the Franchise Agreement and contract requirements for written notice of termination.

10. The Assumption Agreement also provides that all notices pertaining thereto,
or to the Franchise Agreement, were to be sent to “Dr. Ira Trocki (“Designated
Representative”), 631 Tilton Road, Northfield, New Jersey 082225” (sic).

11, By operation of law, the Franchise Act is an implied term of the Franchise
Agreement, such that a violation of the Franchise Act' also constitutes as a breach of contract
under the Franchise Agreement.

- 12. Moreover, the covenants of good faith and fair dealing are implied into the
Franchise Agreement.
B. Choice’s Iegal Termination
13. At all times relevant hereto, the Franchisee complied with all of its

obligations under the Franchise Agreement. As is customary in the industry, Choice
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periodically conducted Quality Assessment Reviews (“QAR”) of the Comfort Inn Franchise.

Until the events that gave rise to this lawsuit, the Franchisee typically passed all brand

|| standards imposed by Choice. (Attached as Exhibit “2,” and incorporated: by reference

herein, is a true and correct copy of a letter dated August 27, 2004, in which Choice
congratulated the Franchisee because “all areas evaluated ... currently pass[ed] brand
| standards.”’)

14, At some point prior to May of 2006, Choice decided to consider awarding a
competing Comfort Inn franchise to the owner of a Hampton Inn that conducted business
tight next door to the Comfort Inn Franchise at 7079 Black Horse Pike, West Atlantic City,
New Jersey 08232.

15. After receiving an application to install a competing Comfort Inn next to the
Comfort Inn Franchise, Choice, upon information and belief, decided to terminate the
Franchisee’s Comfort Inn Franchise, and replace it with the new applicant.

16. On May 15, 2006, shortly before the 19" anniversary of the Commencement
Date of the Franchise Agreement, Choice sent Franchisee a Notice of Termination notifying
Franchisee of Choice’s intent to terminate the Comfort Inn Franchise effective May 21,
|2007. (A true and correct copy of this Notice of Termination is attached hereto as Exhibit
“3,” and is incorporated by reference herein.) |

17. The Notice of Termination identifies no reason for the termination of the

Comfort Inn Franchise. (See Exhibit “3.”) The Notice of Termination also violates the

| Franchise Agreement in that Choice was not permitted to provide such notice until the 20"

anniversary of the Commencement Date. (See Exhibit “1.”)
18, The Franchisee objected to Choice’s termination of the Comfort Inn

Franchise.

 

 
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19. On May 24, 2006, Choice sent the Franchisee notice of its consideration of an

| application that it received from “Applicant: COMFORT INN-NJ230” in accordance with

the company’s Impact Policies and procedures. (A true and correct copy of this notice is
attached hereto as Exhibit “4,” and is incorporated by reference herein.) |

20. As permitted by Choice’s Impact Policies and procedures, the Franchisee
objected to a competing Comfort Inn being located right next door to its Comfort Inn
Franchise. Under those policies, Choice was not legally permitted to install a competing
Comfort Inn Franchise at the proposed location:

C. Choice Begins To Manufacture A “Pre-Text” To Terminate

21. Thereafter, in conjunction with its consideration of the competing Comfort
Inn application, Choice began a campaign of harassment and intimidation of the Franchisee ©
which the Franchisee believes, and therefore avers, was intended to manufacture an artificial
and false record that Choice intended to invoke as a pretextual basis. for terminating the
Comfort Inn Franchise, allegedly for cause. Choice then sent Franchisee a series of Notices
of Default on May 17, 2006, May 24, 2006, two on June 19, 2006, June 21, 2006 and June
30, 2006. (True and correct copies of these Notices of Default are collectively attached
hereto as Exhibit “5,” and are incorporated by reference herein.)

22. Each of the Notices of Default contained within Exhibit 5 required that the

| Franchisee make a substantial capital investment after having received a “Notice of

Default,” and unreasonably. required that Franchisee-cure the alleged “default” within 30
‘days. (Id.)

23. On August 1, 2006, Choice conducted a QAR of the Comfort Inn Franchise.
Two days later, on August 3, 2006, Choice removed the Franchisee from Choice’s

reservation system without notice to Franchisee. On August 4, 2006, Choice sent
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Franchisee a second Notice of Termination, effective October 7, 2006. (A true and correct
copy of the Notice of Termination dated August 4, 2006 is attached hereto as Exhibit “6,”
and is incorporated by reference herein.)

24. After the termination of the Comfort Inn Franchise, the Franchisee, on its
own behalf and unrepresented by counsel, engaged in ongoing and persistent negotiations
with members of Choice’s Office of General Counsel, the. purpose of which was to avoid
litigation by, among other things, awarding the Franchisee a replacement Choice franchise.

25. Choice intentionally and actively induced Franchisee to believe that Choice
would compensate Franchisee for the termination of its: Comfort Inn Franchise and related
economic losses.

26, It was the Franchisee’s further understanding from these negotiations that
Choice was engaging in a good faith effort to compensate the Franchisee for Choice’s
breach of the Franchise Agreement and associated violations of the Franchise Act, and that

litigation would not be necessary. The foregoing negotiations ended in and around the end

| of May, 2010.

27. During negotiations with Choice, the Franchisee was forced to replace the
Comfort Inn Franchise with a Red Lion Inn. From the Commencement Date of the Comfort
Inn Franchise to the date of termination, the Comfort Inn Franchise operated at a substantial

annual net profit, whereas the Red Roof Inn operated at an annual net loss.

 

 
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IV. CAUSES OF ACTION
COUNT ONE
(Violation of the Franchise Act, NJSA §56:10-1 et seq. )

28. The allegations set forth above in paragraphs 1-27 are incorporated by
reference.

29. The Comfort Inn Franchise was a “Franchise” within the meaning of the
Franchise Act, and Franchisee is a “franchisee” within the meaning of the Franchise Act.
They are therefore entitled to all of the protections afforded by the F ranchise Act.

30. At all relevant times, the Franchisee substantially complied with the
requirements imposed upon it by the Franchise Agreement.

31. Choice terminated, canceled or failed to renew the Comfort Inn Franchise
without good cause in violation of, inter alia, §5 of the Franchise Act; NJISA §56:10-5.

32. Choice effectively terminated, canceled or failed to renew the Comfort Inn
Franchise on a pretextual basis without providing the Franchisee with an opportunity to cure
any alleged default.

33. Choice imposed unreasonable standards of performance upon the Franchisee ©

in violation of, inter alia, §7 of the Franchise Act; NISA §56:10-7. .

34, Choice failed to provide proper notice of termination and/or default to the
Franchisee with respect to the Comfort Inn Franchise.

WHEREFORE, plaintiffs pray that judgment be entered in their favor and against

| defendant in an amount not less than the going concern value of the Comfort Inn Franchisee

on the date of termination, as well as any and all actual out of pocket expenses and costs
resulting from the termination of the Comfort Inn Franchise including, but not limited to,
annual operating losses and the cost of the transition from one franchise to another, together

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with interest, costs of suit, attorneys’ fees, and all such other relief that the Court deems
equitable, just and proper.

COUNT TWO
(Breach of Contract—Franchise Act, NJISA §56:10-I et seq.)

35. The allegations set forth above in paragraphs 1-34 are incorporated by
reference.

36. | The Franchise Act is made part of the Franchise Agreement as though set
forth in full therein. Any violation of the Franchise Act is a breach of the Franchise
Agreement.

37. Choice breached the Franchise Agreement by, inter alia, terminating,
canceling or failing to renew the Comfort Inn Franchise without good cause, by imposing
unreasonable standards of performance upon the Franchisee, by effectively terminating the
Comfort Inn Franchise without notice and opportunity to cure, and by failing to. provide the
notice required by the Franchise Act and/or the Franchise Agreement.

WHEREFORE, plaintiffs pray that judgment be entered in their favor and against
defendant in an amount not less than the value of the Comfort Inn Franchise on the date of
termination, as well as any and all actual out of pocket expenses and costs resulting from the
termination of the Comfort Inn Franchise including, but not limited to, annual operating
losses and the cost of the transition from one franchise to another, together with interest,
costs of suit, attorrieys’ fees, and all such other relief that the Court deems equitable, just and

proper.

 

 
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reference.

 

 

a.

COUNT THREE

(Breach of Contract—Good Faith and Fair Dealing)

38. The allegations set forth above in paragraphs 1-37 are incorporated by

39. Choice has breached the implied covenants of good faith and fair dealing by,

inter alia, the following:

considering the placement of a competing Comfort Inn next door to
the Comfort Inn Franchise, and thereafter deciding to evict the
Franchisee from the Comfort Inn network because Choice preferred
the new applicant;

artificially and without basis harassing and intimidating the
Franchisee with notices of termination and default in order to expel
Franchisee from the Choice franchise system, and to replace it with
another Comfort Inn next door to the Franchisee’s location:

failing to honor its obligations under the Franchise Act by
terminating, canceling or failing to renew the. Comfort Inn Franchise
without good cause;

imposing unreasonable standards of performance upon the
Franchisee;

failing to support the Franchisee;

arbitrarily and without notice restricting Franchisee’s access to the
Choice reservations system; and

engaging in protracted negotiation with the Franchisee after the

termination of the Comfort Inn Franchise, and without a good faith
purpose of compensating the Franchisee for the loss of its Comfort
Inn Franchise.

WHEREFORE, plaintiffs pray that judgment be entered in their favor and against
defendant in an amount not less than the going concern value of the Comfort Inn Franchise
on the date of termination, as well as any and all actual out of pocket expenses and costs
resulting from the termination of the Comfort Inn Franchise including, but not limited to,

annual operating losses and the cost of the transition from one franchise to another, together

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with interest, costs of suit, attorneys’ fees, and all such other relief that the Court deems

equitable, just and proper.

  

Dated: August. 13, 2010

 

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Certification Pursuant to R.4:5-1
Pursuant to R. 4:5-1 of the New Jersey Rules of Civil Procedure, it is hereby stated
that the matter in controversy is not the subject of any other action pending in any other |
court or of a pending arbitration proceeding to the best of my knowledge and belief. Also,
to the best of my knowledge, information and belief, no other action or arbitration
proceeding is contemplated. Further, other than the parties set forth in this pleading and the
previous pleadings, if any, at the present time we know of no other parties who should be

joined in the within action.

Dated: August 13, 2010

   

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Attorneys for Plaintiffs,
Trocki Hotels, LP,Trocki Holding, Inc.,
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Designation of Trial Counsel
Pursuant to the provisions of R. 4;25-4 of the New Jersey Rules of Civil Procedure

>

the Court is advised that Michael A. Iaconelli, Esquire is hereby designated as trial counsel.

Dated: August 13, 2010

 

   

Netfania Limited Liability Partnership)
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Attorneys for Plaintiffs,
Trocki Hotels, LP,Trocki Holding, Inc.,
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Dated: August 13, 2010

 

 

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Demand for Trial By Jury
Plaintiffs demand a trial by jury of no fewer than six persons as to all issues so

triable, pursuant to New Jersey Court Rules 1:8-2(b)and 4:35-1 (a). .

 

    

  

YRISON|HARVEY|BRANZBURG LLP
agia Limited Liability Parmership)

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Attorneys for Plaintiffs,
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Tra Trocki and Shari Trocki

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Notice Of Preservation Of Evidence

Plaintiffs hereby demand and request that defendant take all necessary actions to
ensure the preservation of all documents, communications (whether electronic or otherwise),
items and things in its possession or control, or in the possession of any person or entity over
which it has control, or from whom it has access to including, without limitation, any
documents, items, or things which may in any manner be relevant to or relate, in any manner
whatsoever, to the subject matter of the claims, causes of action, anticipated defenses and/or
allegations set forth in this Complaint, and any subsequent pleading filed by any party to this
action, or which is reasonably calculated to lead to the discovery of admissible evidence in

this action.

Suite 510
Cherry Hill, NJ 08002-2220

Dated: August 13, 2010

   

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Klehr Harrison Harvey Branzburg LLP
457 Haddonfield Road

Attorneys for Plaintiffs,
Trocki Hotels, LP, Trocki Holding, Inc.,
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Certification Pursuant to R.1:38-7(b)

I certify that all confidential personal identifiers have been redacted from documents
now submitted to the court, if any, and will be redacted from all documents submitted in the

future in accordance with R.1:38-7(b) of the New Jersey Rules of Civil Procedure.

Dated: August 13, 2010

   

(A Pennsylvania Limited Liability Partnership)
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COMFORT INN
ASSUMPTION AGREEMENT

THIS ASSUMPTION AGREEMENT, is made by and between Trocki Hotels, LP, a New
Jersey limited partnership, Trocki Holding, Inc., its General Partner, Individually, Ira
Trocki, Individually and Shari Trocki, Individually, jointly and severally ("Successor
Franchisee") and CHOICE HOTELS INTERNATIONAL, INC., a Delaware Corporation ("Choice").

WITNESSETH

A) On or about May 6, 1987, Choice and Aray/Widell Real Properties, a New Jersey
General Partnership (“Original Franchisee”) entered into a Franchise Agreement and addendum
(“Franchise Agreement”) pursuant to which Original Franchisee was granted the right to operate a
COMFORT INN hotel at 7095 Black Horse Pike, West Atlantic City, New Jersey. 08232
(“Hotel”), a copy of which is attached hereto as Exhibit A.

.B) _ Certain additional agreements Were entered into in connection with the granting of
the COMFORT INN. franchise, including a Technology Services Agreement and Software License

as Exhibit B (all additional agreements together with the Franchise Agreement are collectively
referred to as the (“Franchise Documents”).

‘C) On or about. Z fal t- 1% eA he Original Franchisee filed a petition | in the

United States Bankruptcy Court (the “Court’). During the bankruptcy proceedings for. thie Original
Franchisee, HFC Cornmercial Realty, Inc., a Delaware corporation (‘Assignor’) acquired the
Hotel and assumed all of the Original Franchisee’s’ rights and obligations under the Franchise
Agreement by way of court order as Exhibit C.

D) On Ac ae TV 4 Xf, Suocessor Franchisee acquired the Hotel.

E) On or about August 25, 2003, Choice, and Successor Franchisee entered into a
temporary Assignment and Assumption of Franchise Agreement, whereby Assignor assumed alt

of the rights of Original Franchisee under the terms of the Franchise Documents, a copy of which
is attached hereto as Exhibit C.

F) Successor Franchisee desires to assume permanently the obligations of
Franchisee contained in the Franchise Agreement, as amended, and the Technology Services
Agreement and Software License.

G) Choice is willing fo consent to such assumption by Successor Franchisee on the
terms and conditions of this Assumption Agreement.

H) The "Commencement Date”, as defined in Paragraph 3(a)(1) of the Franchise
Agreement is May 21, 1987.

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10/23/2003

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“NOW, THEREFORE, for and in consideration of the premises and of the mutual agreements |
herein contained, Choice and Successor Franchisee hereby agree as follows:

1. Assignment. Franchisee assigns fo Successor Franchisee, its permitted -
successors and: assigns, all-of Franchisee's interest in the Franchise Documents, -effective-as-of-----
the Date of Possession.

3. Assumption. Successor Franchisee accepts the assignment and agrees to
assume all of Franchisee's rights and obligations under the Franchise Documents, including any
and all outstanding financial obligations thereunder existing as of the date hereof, and to carry out,
perform and satisfy the same.

Successor Franchisee (Assignee) does not and shall not assume any
obligations, responsibilities or indemnifications arising from the

Franchise Agreement that accrued prior to August 25, 2003.
. IMT: 4 UST

4, Payment. Successor Franchisee will pay to Choice a nonrefundable assumption
fee of $2,500.00 on signing of this Agreement.

5, Representations and Warranties, Successor Franchisee represents and
warrants to Choice, as a material inducement for Choice to approve the assignment, that with
respect to it and its constituent partners: , . ,

(a) ‘The equity owners of Successor Franchisee are Trocki Holding, Inc., its General
Partner, Ira Trocki and Shari Trocki. <

(b) Successor Franchisee is duly organized, validly existing and in good standing
under the laws of its state of organization. {t has the power to own its properties and conduct its
business and is duly qualified to do business in the state of New Jersey.

(c) Successor Franchisee has the power to execute, deliver, and carry out the terms
of this Agreement. It has taken all necessary action with respect thereto. This Agreement has
been duly authorized, executed and delivered by it and constitutes the valid, legal and binding -
agreement and obligation in accordance with the terms of this Agreement,

(d) Performance by Successor Franchisee of its obligations under this Agreement will
not result in: (i) the breach of any term of, or be a default under, any term of its Partnership
Agreement, other organizational documents, contract, agreement or other commitment to which it
isa party or by which it is bound, or be an event that, with notice, lapse of tirne or both, would

. result in a. breach or event of default; nor (ii) result in the violation by-it of any statute, rule,
regulation, ordinance, code, judgment, order, injunction, decree or other legal obligation.

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(e) Successor Franchisee is the true owner of, and record holder of title to, the real
. state located at 7095 Black Horse Pike, West Atlantic City, New Jersey 08232, which is:the -
. Slte-on- Wwhich--the~Hotel--wil:-be~located- asconteriplated by ‘this”” Agreement. Successor
Franchisee will be the mortgagor of record of the real estate on which the Hotel will be located,

(f) Choice has not made any representations or warranties regarding the assignment
not expressly contained in this Agreement, nof has Choice made any representations or
warranties regarding the success, potential revenues, costs or profits, directly or indirectly, not
expressly contained in the COMFORT. INN Uniform ‘Franchise Offering Circular delivered to
Successor Franchisee before it enters into this Agreement, and that no officer, director or
employee of Choice is authorized to do otherwise,

6. No Modifications. Except as may be expressly provided to the contrary in this
Agreement, the Franchise Documents will continue in full force and effect without ‘modification or
waiver of any of Choice's rights in the Franchise Documents. ,

7. UFOG Receipt. Successor Franchisee acknowledges that it received from Choice
the current COMFORT INN Uniform Franchise .Offering Circular. Successor Franchisee also
acknowledges that it received any franchise disclosure document required under the ‘laws of the
State where Successor Franchise was domiciled at the time’ or where the Hote! is located or to be
located. , St

8. Notices. All notices pertaining to this Agreement or to the Franchise Agreement
must be sent by registered or certified mail. Notices to Choice must be sent-to Choice Hotels
International, Inc.; Attention: ..General Cotinsel, 10750 Columbia Pike, Silver Spring,
Maryland 20901, and notices to -Successor Franchisee must be sent to Dr. -Ira Trockl
(“Designated Representative’), 631 Tilton Road, Northfield, New Jersey 082225, Either Choice
or Successor -Franchisee riay Change the address by written notice fo the other party.

9, Entire. Aqreement. This Agreement represents the entire understanding and
agreement among the parties with respect to the subject matter of this Agreement, and

supersedes all other negotiations; understandings and representations (if any) made by the
parties.

10, Choice’s Consent, Choice, as Franchisor under the Franchise Agreement,
consents to the Assignment from HFC Commercial Realty, Inc. to Trocki Hotels, LP, Trocki

Holding, Inc., its General Partner, lra Trocki, Shari Trocki, and confirms that the Assignment
is not a default under the Franchise Agreement.

11. This Assumption Agreement shall supercede and replace the Assignment and
Assumption of Franchise Agreement, dated August 25, 2003,

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10/23/2003

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IN WITNESS WHEREO
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F, the parties have set their hands and seals as of the A Laz
» 2003.
Attest: Choice Hotels International, Inc.,
a Delaware corporation —
2b fale 6 iM LO) Dk LS.
Name: Kevin M. Rooney Nene: Michaef J. DeSantis
Title: Assistant Secretary

 

Title: Senior Vice President

SS
SUCCESSOR FRANCHISEE:

Trocki Hotels, LP, a New Jersey. limited"
partnership, Trocki Holding, inc., its General
Partner, Individually, Ira Frocki, Individually. and

Shari Trocki, Individually, jointly and severally -
Witness:

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Trocki Hotels, LP; a New Jersey limited
partnership

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Name: J oC . Name: C Pr = 7 “—
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SEE NEXT PAGE FOR ADDITIONAL SIGNATURES

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Witness: Trocki

 

 

 

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Title: Prdsident 5
Date: He J U» |
Witness: Ira Troéki, Individually f
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Witness: - Shari Trocki,-Individually . - ‘
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EXHIBIT A.

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QUALITY INNS INTERNATIONAL, INC.
FRANCHISE AGREEMENT

THIS AGREEMENT entered into in Silver Spring, Maryland as of the 6th dayof MBy.
19 87 by and between Quality Inns International, Inc., a Delaware corporation (hereinafter referred
to as “Quality”) and _Arjay/Widell Real Properties, a New Jersey General

Partnership.

 

 

 

(herelnafter referred to as “Eranchisee’):
. WITNESSETH:

WHEREAS, Quality, as the result of the expenditure of time, effort and money, has developéd a plan and
system for providing to the travelling public‘on an International basis lodging of a high standaid of service,
efficlency, courtesy and cleanliness, utilizing distinctive identification schemes, standards, specifications
and Proprietary Marks (as hereinafter defined) and information, all of which are’ referred to in this

Agreement as the System; and

WHEREAS, Franchisee recognizes and agrees that participation in the advance reservation system,
display of the distinctive Comfort Inn Sign and participation In the business referral and credit card
arrangements are vital, invaluable and necessary components of the System; and

WHEREAS, Franchisee recognizes and agrees that Quality has the exclusive right, except as herein
provided, to the ownership and use of the names COMFORT INN and COMFORT INNS either alone or in
combinatlon or.associatlon with the signs, emblems, trade names, trademarks, and service marks used In
connection with the System and any other name, sign, emblem, trade name, trademark or service mark
subsequently adopted by Quality and authorized for use In connection with the System (hereln referred to
as “Proprietary Marks”); and se :

WHEREAS, Franchisee wishes to be licensed by Quality to use the System at the Franchised Inn (as
herelnafter deflned) upon the terms and conditlons contained herein; and - 7 ,

_ WHEREAS, Franchisee understands the Importance of Quallty's standards of service, efficiency,
courtesy and cleanliness to the value of the System and the necessity of operating and maintalning the
Franchised Inn in conformity with the System; , .

THEREFORE, Quality and Franchisee, in consideratlor: of the premises and the mutual agreements
herein contained, do hereby agree as follows:

{, GRANT OF LICENSE. Quallty hereby grants to Franchlsee, subject'to the terms and conditions
hereln, a non-exclusive license to use the System In the operation of one hotel or motel at the following
location only: COMFORT INN West . .

- Black Horse Pike at Dover Place

West Atlantié City, New Jersey
(which hotel or motel is herein’ referred to as the “Franchised Inn’).
2. FEES and ROYALTIES. Franchisee covenants and agrees to make. payments to Quality as
follows: : , ;
(a) Initial Fee. Concurrent with the execution of this Agreement, Franchisee agrees-to pay to
Quality a non-refundable, initial fee in the amount of $5,000 sr based upon Franchisee’s

representation that the Franchised (nn contains or shall contain ____197____ sleepirig rooms (said
number is hereinafter referred to as the “Specified Room Count’). Quality acknowledges receipt of

(b) Continuing Frénchise Fee, .
(1) -For the first calendar month in which the Franchised Inn commences operations here-

under, Franchisee agrees to pay to Quality a continuing franchise fee equal to $9.00 times ihe Specified
Room Count. ; a

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42) For each month subsequent io the first calendar month of operation, Franchisee agrees to

pay to Quality a continuing franchise fee equal to 3% of the Gross Hoom Revenues for the preceding
month, : :

(c) Marketing Assessment. —
/ >" 4) “PRRNCHISES AQress 16 Hay rrontily a Marketing assessment: for the first calendar monthin ~~~" -

which the Franchised inn commences operations herelinder, a sum equal io $3.00 times the Specified
Room Count; for each month subsequent to the first calendar month of operation, a sum equal io 1% ofthe
preceding month’s Gross Room Revenues plus 20 cents per day fines the Specified Room Count. Thisfee -
shall abate during any period of inoperabllity of the Franchised Inn caused by fire, acts of God or
governmental regulation.

(2) Franchisee agrees that Quality may from time to time Increase or decrease the marketing
assessment to such extent as may be reasonably appropflate to take into account the advertising, —

publilcity, public relations, marketing and similiar needs of. the System, or fluctuations in the value of the
dollar.

(3) Franchisee is solely responsible for conducting local advertising and promotion of the
Franchised Inn and the expenses thereof. Franchisee agrees that the form and content of said local:
advertising and promotion will conform to standards prescribed by Quality as may be amended from time
to time. .

(d) Reservation Services Fee, Franchisee agrees to pay monthly a reservation services fee: (1)
for the first calendar month in which the Franchised Inn commences operations hereunder, a sum equal lo
$3.00 times the Specified Room Count; (2) for each month subsequent to the first calendar month of
operation, a sum equal to 1% of the preceding month’y Gross Room Revenues, In addition, Franchisee
agrees to pay, monthly, a reservations delivered charge equal fo $1.00 per room night confirmed through
Quality's reservation system.

Franchisee further agrees that Quality may, atany time and from time to time, increase or decrease
any of all of the reservations fees, as Quality may determine to be reasonably appropriate to take into ,
account Increases. or decreases in Quality’s cost of providing an advance reservation system and that
Quality may change the method of. calculating such fee as Quality may determine. The reservation
services fee shall abate during any perlod of Inoperabillty of the Franchised Inn caused by fire, acts of God,
of government regulation.

(e) Monthly Reports. Franchisee agrees to file with Quality, within ten (10) days after the close of
each calendar month, a statement in the form prescribed by Quality showing manthly Gross Room
Revenues and the number of rooms rented for such monthly period, such statements to be certified to be ~
true and accurate by Franchisee or Its duly appointed agent. if not timely submitted, Franchisee agrees to
pay alate charge equal to 11% ofthe amounts due under pafagraph 2(b) for each month or fractional part. _
of delinquency. 3

(f} Annual Reports, Franchisee will furnish to Quality, within 90 days aiter the end of each fiscal
year of the Franchised Inn, a statement of the Franchised Inn's Gross Raom Revenues for such fiscal year
certified to be true and accurate by Franchisee or its duly appointed agent.

(g) Payments and Delinquency Charge. Quality will bill Franchisee on or about the 15th day of
each month for all amounts due for-the current month. Franchlsee agrees to pay, without offset, such
amounts by the 15th day of the following month and, if not so paid, the account shall be considered
delinquent: Amounts not paid when due, in addition to being in breach of this Agreement, will accrue
interest from the date of delinquency at 114% per month, butnot to exceed the maximum interest permitted
by applicable laws. .

(h) Definition of “Gross Room Revenues. "The term “Gross Room Revenues" as used hereln shall
include all revenues derived from the rental, sale, use or occupancy of sleeping rooms or meeting rooms in
the Franchised Inn, including cash and credit transactions, whether or not collected by Franchisee, but
excluding sales taxes or other taxes which may be required by law to be collected from guests.

(i) Audit of Books and Records of Franchised Inn. .

(1) Franchisee agrees ta retain on the premises of the Franchised Inn for at teast three years
true and accurate accounts, books, records and data reflecting all particulars relating to room rentals and
Gross Room Revenues: {fo allow Quality and its agents to examine and audit sald. accounts, books,
records, and data during normal business hours; and to make photocopies of such accounts, books,
records and data necessary and appropriate to such examination and audit,

, (2) In the event an audit of said accounts, books, records and data shows the Franchisee to
have underpaid continuing franchise fees required by paragraph 2(b) (2), Frarichisee agrees to promptly
pay to Quality such sums as have been underpaid, plus Interest at 172% per month or partial month (or if
such amount is: deemed to bain violation of applicable laws, then the maximum amount permitted
thereunder), If the amount of continuing franchise fee underpaid shail be equal to or greater than 5% of the
total continulng franchise fee during the period of such audit, Franchisee agrees fo pay the reasonable
costs of the audit in addition ta the amount underpald and interest thereon.
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3, TERM OF THIS AGREEMENT.

(a) This Agreement shali be in effect until terminated as provided by this Agreement.

(1) Either party may terminate this Agreement on the Sth, 10th, 15th or 20th. anniversary

_ of the date of commencement of operations under this Agreement (the “Commencement Date”) by giving
-no less than three (3) months prior written notice. .
sw ss rmemnnnnonnen (DY After -the-twentieth- (20th)-anniversary..of the Commencement Date, either party may
_ terminate this Agreement on any subsequent anniversary date by giving no less than three (3) months prior
written notice. . .

(b) Except as otherwise required by applicable statutes or regulations, and upon the happening of
any of the following contingencies and notwithstanding anything herein elsewhere. provided, Quality may
at its option and without further demands or notice immediately declare this Agreement and alll rights and
privileges hereunder cancelled and terminated: -

(1) If, within twelve (12) months following substantial destruction of the Franchised Inn
whether by fire or other cause, the Franchised Inn shall not be rebuilt and opened for business to the public
in accordance with plans and specifications submitted by Franchisee to Quallty and approved Ih writing by
Quality. ,

‘ (2) If, after ten (10) days written HOtice from Quality (or such longer period of time as may be
required by applicable law), Franchisee has failed to cure a violation of paragraph 2.

« (3) if, after thirty (30) days written notice from Quality (or such longer period of time as may be
required by applicable law), Franchisee has falled to. cure a violation of any provision, covenant, condition
or agreement herein contained, other than as set forth in paragraph 3(b)(2) above, or contained In the
Rules and Regulations as may be amended from time to time. - .

(4) if Franchisee shall make an assignment for the benefit of creditors or shall admit in writing
its Inability to pay its debts as they become due, or ifswithIn thirty (30) days after the commencement of any
proceeding by or against Franchisee seeking any reorganization, arrangement, composition, readjust-
ment, liquidation, dissolution or similar relief under any present or future statute, law or regulation, such
proceeding shall not have been dismissed, or if,-wlthin thirty (30) days after the appointment of any
Trustee, recelver or liquidator of Franchisee or of all or any substantlal part of thé properties of Franchisee,
such appointment shall not have been vacated, or if, the property real and personal of Franchisee shall be
sold after levy thereupon by any sheriff, marshal Or constable. . ,

# (5) IfFranchisee shall abandon or discontinue operation of the Franchised {nn or if Franchisee
losespossession of or loses the right to possession of all or a significant part of the Franchised inn. .
; - (8) If Franchisee materially violates aty term or provision of any mortgage, deed of trust,
lease;"sublease, contract of tenancy or law. respecting the Franchised Inn. , ,

#» (¢) Franchisee may, at its option and without further demands or notices, Immediately dectare this
Agreement and license and all rights and privileges hereunder cancelled and terminated if, after thirty (30)
days written notice from Franchisee (or such petiod as may be required for notices from Quality to

‘ Franchisee pursuant to paragraph 3(b) if longer), Quality has failed to cure a violation of any provision,
convenant, conditlon or agreement hereln contained or contained In the Rules and Regulations as may be
amended from time to time. _ _ Ne ; . .

(d) In the event of termination of this.Agreement, Franchisee shall promptly pay to Quality, without
offset, such‘sums.as are due and owing on the effective date of termination, together with interest thereon
as set forth in paragraph 2(g) accruing thereon until paid tn full. In addition, in the event either party elects to
terminate this Agreement due to a violation of any provision, covenant, condition or agreement herein
contained or contained In the Rules and Regulations as may be amended trom time to time, the breaching
party (whether Quality or Franchisee) shall be fable to the other party for such damages suffered as a
result of such violation. The foregoing obligations shall survive termination of this Agreement.

4, QUALITY’S COVENANTS. Quality covenants and agrees:

(a) To provide Franchisee a detailed Operations Manual dealing with the various aspects of. motel
management and administration, which Manual Franchisee acknowledges to be the exclusive property of -
Quality containing trade secrets and requiring confidentlal treatment and which may be revised from time
to time. 2

(b) To use the monles collected pursuant to paragraph 2(c) for the purpose of national and
international advertising, promotion, publicity, marketing research and other marketing programs and
related activities for the Comfort Inns name, reputation and System as Quality in its discretion may from
time to time determine to be necessary and appropriate. |

(c) To use the monies collected pursyantito paragraph:2(d) to provide such advance: reservation
services as Quality in its discretion may from time to time determine to be necessary and appropriate.

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_ (d) To permit consultation, at reasonable times, with Quality’s personnel in thelr respective flelds of
motel operations.

{e) To list the Franchised Inn in such Directories of Comfort Inns as may be published by Quality :
from time to tlme. .

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5. FRANCHISEE’S COVENANTS. Franchisee covenants and agrees:

(a) To maintain and operate the Franchised Inn throughout the term hereof such that {twill contain -
the fallowing characteristics: ‘

- conus wut!) A first-class Inn containing the number of sleeping rooms as provided in paragraph.2(a).--.cooe-.

(2) A lobby and registration area meeting or exceeding the size requirements prescribed in
the Rules and Regulations.

(b) To comply with the Rules: and Regulations incorporated herein by reference and all future
amendments thereto as may be made from time fo time and to operate the Franchised inn under the:
Sysiem in accordance with the terms and.conditions of this Agreement and in accordance with the Rules
and Regulations as may be arnended irom tima to time. Franchisee shall be deemed to have maintained
and operated a “first-class inn’ if it shall have complied with the foregoing requirement, .

-(c) To strictly comply with all local, state and federal laws, ordinances, rules and regulations

partaining to operation of the Franchised Inn; to timely obtain and to keep in effect any and all permits.
certificates or llcenses as may be required for the lawful operation of the Franchised Inn,

(d) To promote use of Comfort Inns by the travelling public and notto encourage the use of other
inns except where Comfort Inns are not reasonably avallabie.

(€} To operate the Franchised {nn exclusively under the name “Comfort Inn” and to feature fn all
advertising matter. the name “Comfort Inn,” together with the.distingulshing characteristics of the System
prescribed by Quality, or under such other name and Proprietary Marks as may be adopted by Quality for
use in connection with the System, so that the Franchised inn will be directly recognizable by the general
public as an integral part of the System, and to diligently promote and make every reasonable elfort to
steadily increase business of the Franchised Inn,

(f) To permit Quality and its agents to inspect the Franchised Inn at‘all reasonable times.

(9) To cause the manager of the Franchised Inn to attend, at Franchisee's expense, training
programs conducted by Quality. , ,

(h) To obtain and display in a prominent location at the Franchised Inn one.or more Illuminated
Comfort Inn Sign(s) meeting specifications prescribed by Quality unless prevented from so doing by
applicable laws or regulations and to maintaln the Comfort Inn Sign(s), in good working order.

. (i) That, at the date hereof, It owns the Franchised Inn in fee.or pursuant to a lease not inconsistent
with the terms of this Agreement.

(j) To participate in the advance reservation. system designated by Quality and to make reserva-
tions and to accept reservations in accordance with the Rules and Regulations and with procedures
promulgated and/or changed by Quality from time to time.

(k) That it may not change the Specified Room Caunt except with the written consent of Quality.

(1) To obtain and install at the Franchised Inn a computerized send/recetve terminal unit meeting
specifications prescribed by Quality, and to maintain the terminal unit in good working order.

, (m) To submit to Quality a copy of any prospectus concerning a private or public investment
offering in respect of the Franchised Inn, and to obtain written approval from Quality priat to distributing any
such prospectus,’ which approval shall not be unreasonably withheld. Do:

6. PROPRIETARY MARKS. With respect to said System and the Proprietary Mark “Comfort Inn”
and any other Proprietary Mark owned by Quality or developed in the future and designated for use in
connection with the System:

(a) Franchisee acknowledges and will not contest Quality's interest in and exclusive right to said
System and to the Proprietary Marks now used in connection with the System ar subsequently adopted by
Quality for use in connection with the System, and Franchisee further acknowledges and will not contest
the exclusive right of Quality to grant to others the rights fo their use.

(b}) Franchisee agrees that its name, whether a corporation, joint venture, parinership, limited
partnership or any other type of business organization. shall not contain the word “Quality” or the word
“Comfort” and that it shall not use the word “Quality” or the word “Comfon” in the name of any. corporation,
jointventure, partnership, limlted partnership or any other type of business organization which owns and/or
operates any hotel. motel, motor Inn or other hostelry, restaurant, or lounge or any business which sells or
laases goods or services to any of the foregoing. .

(c) Franchisee acknowledges that the Proprietary Marks are and shall remain the property of
Quality and that its use of the Proprietary Marks shall inure to the benefit of Quality. Franchisee agrees to
assign and convey to Quality upon request any such rights to the Proprietary Marks as Franchisee may
acquire by reason of the use thereof,

(d) In the event applicable laws require or permit any registration by Franchisee of the Proprietary
Marks, Franchisee agrees to comply with such laws and that such registration shall specify that Fran-
chisee’s use thereof is limited to the Franchised Inn and shall terminate. with the termination of this
Agreement and no.such registration shall treate in Franchisee any propenty rightin or privilege to tha use of
the Proprietary Marks which could survive the termination of this Agreement.

_ (e@) Franchisee agrees not fo interfere with the. use or registration of the Proprietary Marke by
Quality or by .any other franchisee of Quality,
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(fy Franchisee agrees to promptly notify Quailty of suits filed against Franchisee challenging the
validity of any or all of the Proprietary Marks used in connection with the System and-to cooperate In the
defense of any such suits. ,

{g) Upon termination or expiration of this Agreement for any reason whatsoever, Franchisee shall
immediately cease to be a Quality franchisee and Franchisee shall immediately cease to use, by

neon nnwe advertising. .or_in_any manner..whatsoever,-any_forms,—manuals,-slogans,-signs,-marks-or-symbols-— 0. --.—j

containing the. Proprietary Marks or anything similar thereto or suggestive thereof used in connection with
the Franchised Inn, and shall cease and refrain from holding the Franchised Inn out to the general publicas ~
a.Comfort Inn or former Comfort Inn, and shall at its expense promptly make whatever changes may be
necessary in any forms, manuals, signs, advertising and promotional material in order ta comply with
provisions of thls paragraph. |
(h) In the event that the Franchisee fails to discontinue use of the Proprietary Marks by the tenth

day following termination or cancellation of this Agreement, then Quality, by its duly. authorized agents may
enter upon the premises of the Franchiséd Inn to accomplish such discontinuance without being deemed
guilty of trespass or any other tort, and to-cause such discontinuance to be effected at the expense of
Franchisee. In the event of such failure to discontinue use of the Proprietary Marks, Franchisee agrees to
pay to Quality as liquidated damages and nofas a penalty $1.00 per day times the Specified Room Count -
after expiration of said ten (10) days for each use of the Proprietary Marks until use of the Proprietary Marks:
in connection with the Franchised Inn has been discontinued. Franchisee further agrees that Quality shall
also be entitled to injunctive and equitable relief for any violatlon of the foregoing. - ‘

(i) Franchisee agrees that no express or implled right Is conferred hereby or herein upon
Franchisee to sublicense others to use Quality’s Proprietary Marks or System.

7, REVISION OF RULES AND REGULATIONS. Quality expressly reserves the right to reasonably
revise, amend, change and modify the System and the Rules and Regulations, or any part thereof, or to
modify standards of quallty of construction, furnishings, maintenance, repair and operation as may be
nécessary, In the judgment of Quality, to meet changes {n ihe tastes and demands of the travelling public
and to maintain the reputation of Quality and its franchises, Franchisee covenants and agrees to comply
with any such reasonable revisions, amendments, changes or modifications thereto. -

8, CONVEYANCE OF FRANCHISED INN; TRANSFER OF FRANCHISE AGREEMENT.
~ (a) Franchisee covenants and agrees to sell, lease, sublease or otherwise convey the Franchised
inn only upon the express condition that the buyer, lessee or successor-in-interést agrees’ in writing to
assume. (subject'to Quallty's approval as set forth in thls paragraph) Franchisee’s obligations under this
Agreement for the unexplred term hereof. ;
a {b) The franchise herein granted {s personal to Franchisee and may not, in any manner, be sold,
assigned, leased, sublet, pledged or otherwise transferred without Quality's prior written approval.

(c) As a condition precedent to such approval by Quality, the transferee shall execute an
agreement assuming the obllgations of Franchisee under this Agreement.

(d) As a further condition precedent to such approval by Quality, Franchisee shall fully disclose to
Quallty afl information which may reasonably be requested by Quality (Including, but not limited to, current
financial Information on and itemization of percentage ownership of all stockholders or partners or alljoint |.
venturers as the case may be, with thelr current residential addresses) for each of the proposed
transferees and each of the stockholders or partners.

(e) As a further condition precedent to such approval by Quality, Franchisee shall pay all monies
due and owing to Quality pursuant to the Agreement and the transferee shall pay a franchise transfer fee in
accordance with Quality’s then current policy. In the event that Quality is then offering for sale Comfort inn
franchises slmilar to this Agreement, said fee shall not exceed the initlai franchise fee then belng charged
to new Franchisees for existing inns.

(f) Nothing contained herein shall obligate Quallty to recognize any successor to Franchisee
unless each such. prospective successor is acceptable to Quallty in every respect and such prospective
successor complies with all of Quality's pollcies relating to transfers of this Agreement.

, (g) The term “sold,” “assigned,” or “transferred” as used in this Agreement shall include any sale,
assignment or transfer of 50% or more of the voting stock af a Franchisee which Is a corporation (except a
transfer by will or descent and distribution) and an increase of the number of outstanding shares of voting
stock of the corporation which results in a change in ownership of 50% or more of the total vating stock of
the corporation. If Franchises is a.partnership, no general partnership interest or 50% or more of limited
parinership interests shail be sold, assjgned_or transferred without the prior written consent of Quallty.
Franchisee agrees to Inform Quality of any such proposed salé, assignment or transfer as hereln defined,
and to request prior written consent to such proposed transaction. Attached hereto as Schedule A is a
description of the legal organization of Franchisee (whether a corporation, partnership or other), the
names and addresses of each person owning an interest in Franchisee and the percentage of such interest
owned by such person. Franchisee agrees to notify Quality in wrlting whenever there Is any change In the
Information contained in said Schedule A. In the event of any such sale, assignment or transfer as herein K

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defined without the prior written consent of Quality, Quality may at its sole discretion, immediately
terminate this Agreement without prior demands or notices.

8, FUTURE ADDITIONS. No additional construction shall take piace or substantial alterations be
__ Made with respect to the Franchised Inn or the Food and Beverage Operation unless the same is first
approved in writing by Quality, and the plans and specifications therefor approved fn writing by Quallty. ~~
Upon completion of any such construction, the Speciflad Room Count shall include the additional sleeping
rooms, and the revenues derived frorn their rental, sale, use or occupancy shall be Used in the calculation
of fees and charges payable by Franchisee under this Agreement, ,

10. LEASES. If at any time or times during the term of thls Agreement, Franchisee leases or
subleases the Franchised (nn. restaurant, coffee shop, cocktail lounge or any supplementary department
of the Franchised Inn, such contract of tenancy shall contain the express covenant that the leased
pramises shall at all times throughout the tearm of tenancy be operated In accordance with the terms and -
conditions of this Agreement and the Rules and Regulations, Failure by such parties fo comply with the
terms and conditions of this Agreement or the Rules and Regulations shall be deemed a breach hereunder -
by Franchisee. _ me,

11. ENTIRE AGREEMENT. Thls Agreement contains the entire agreement of the parties and
supersedes any previous agreements and no representation, Inducement, promise or agreement, aral or
otherwise, not embodied herein, shall be of any force or effect.

12. RELATIONSHIP OF PARTIES. Quality and Franchisee are not and shall not be considered as
joint venturers, partners, agents or fiduciaries, of or for each other, and neither shall have power to bind or
obligate the other except as specifically set forth in this Agreement.

13. WAIVER, Waiver of any particular default by Quality shall not affect or impair Quality’s rights in
respect of any subsequent default of the same or a different kind, nor shall any delay or omission of any
right arising from any default affect or impair rights as to the same or any future default.

14. DUPLICATE ORIGINALS. This Agreement may be executed in any number of counterparts each
of which, when executed and delivered, shall be deemed an original, but suoh counterparts together shall
constitute but one and the same Instrument.

15, SEVERABILITY. Should any part of this Agreement, for any reason be declared or held invafid,
such Invalidity shall not affect the validity of any remaining portion, which such remaining portion shail
remain in force and effect as if this Agreement had been executed with the Invalid portion thereof
eliminated, and itis hereby declared to be the intention of the parties hereto that they would have executed
the remaining portion of this Agreement without Including any such part, parts, or portion which may, for
any teason, be hereafter declared invalid. .

16. TERMINATION OR MODIFICATION BY WRITTEN DOCUMENT. Nelther this Agreement nor
any provisions hereof may be changed, waived, discharged of terminated orally, but only by a written
instrument signed by the party against which enforcement of the change, waiver, discharge or termination
is sought. ; . ;

17. SUCCESSORS AND ASSIGNS. All rights under this Agreement shall be binding on and inure to
the benefit of the heirs, successors and assigns of Quality and Franchises; provided, however that
Franchisee agrees that its interest herein ts transferable only as set forth in paragraph 8.

18 ORDINARY BUSINESS CONTROL. Quality agrees that nothing herein contained is to take away
from Franchisee the right to exercise ordinary business control, as ihe same is commonly Understood, to
the extent that such exercise is consistent with the specific terms of this Agreement,

49. CONSTRUCTION OF FRANCHISE AGREEMENT. This Agreament shall be governed and
construed according to the laws of the State of Maryland. All terms and words in this Agreement,
regardless of the humber and gender in which they are used, shall be deemed and construed to Include
any other number, singular or plural, and any other gender, masculine, ferninine or neuter, asthe context or
sense of this Agreement or any paragraph or clause herein may require, as if such words had been fully
and properly written in the appropriate number and gender. Paragraph headings herein are for con-
venience only and are not to be construed as a part of this Franchise Agreement or in any way defining,
limiting or ampfifying the provisions hereof,

20, CUMULATION OF REMEDIES. The remedies granted herein fo Quality are cumulative and are
not intended to be exclusive of any other remedies to which it may be lawfully entitled in case of any breach
‘or threalened breach of the terms and provisions hereof. ,

21. INSURANCE. oo

{a) Franchisee agrees to procure and maintain In full force and effect during the entire term of this
Agreement, at Franchlsee's sole cost and expense all-risk physical damage coverage, Insuring the
Franchised Inn for an amount not less than 80% of the replacement cost thereof. In the event of damage or
destruction to the Franchised Inn, unless mortgagee recommends otherwise, thé proceeds of any such
insurance shall be used to repair orrestore the Franchlsed Inn in accordance with plans and specifications .
prepared by Franchisee and approved in writing by Quality. :

(b) Franchisee agrees to procure and maintain in full force and effect during the entire term of this
Agreement, at Franchisee's sole cost and expense, insurance coverages protecting Franchisee, wilh the

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Franchisee as the named insured and.Quality Inns International, Inc., Manor Care, inc., other subsidlarles

of Manor Care, Quality’s agents, servants, employees, officers, and directors as additional insu reds, from

and against all types of liabllities, including, but not ilmited to, personal injury and property damage of any

nature, together with the costs and expenses of the defense and/or adjustment thereof, without exception,

gtowing out of or in any way related to any operation or activity conducted under thls Agreement and/or of
__the Eranchised Inn, inclusive of, but not limited to, adjacent areas. These coverages shall provide limits of. .

not less than $1,000,000 per occurrence and shall be accompanied by a waiver of subrogation. Included in mone een

the above coverage, but without limitation thereon, shall be Workers Compensation Insurance within the
applicable statutory Ilmits, Dram Shop Insurance if alcohollc beverages are served at the Franchised Inn, _
contractual llability, products and completed operations lability, personal injury fiability, and independent
contractors liabllity. : .

Quality may, from time to time, during the term of this Agreement, at Its sole option, require that the

‘minimum limits of insurance coverage, as aforesaid, be reasonably increased in any area in amounts
determined soiely by Quality and Franchisee hereby agrees to comply wlth such requiremerits, .at.
Franchisee’s sole cost and expense, and to deliver evidence of such compliance to Quality within ten (10)
days of receipt of written demand for an increase In-sald-insurance by or on behalf of Quality. :

The foregoing Insurance shall be placed with an insurance company or companies satisfactory to

Quality. . .

(c) Franchisee agrees to furnish to Quallty within ten (10) days after the.date of thls Agreement,

certificates of such insurance indicating thereon. that Quality Inns: International, Inc. is an additional
insured, together with evidence showing that the premiums thereof have been paid. Additionally, evidence
of renewal will be furnished Quality-prior to the expiration date of such insurance. Such pollcy or policies
shall stipulate that Quality shall receive a thirty (30) day written notice of cancellatlon or reduction In
coverage or other alteration of the policy or policies. :

. (d) In the event that Franchisee should fall to-procure or maintain Insurance in the types and
amounts specified in this Agreemeni, or as may hereinafter be changed by Quallty, Quallty may, at its -
option, without notice, in addition to such other rights and remedies which it may have, procure and
maintain such insurance and charge the full premiums thereof to Franchisee or it may immediately
terminate this Agreement. ‘ a

(e) The procuring and maintenance of such Insurance and the performance by Frarichisee of
Franchisee's obligations under this Agreenient shall not relieve Franchisee of any tlabllity imposed by or
under the Indemnity provisions set forth in paragraph. 22 of this Agreement. .

_ 22, INDEMNIFICATION. Franchisee agrees to defend, Indemnify and hold harmless Quality, its
officers, agents and employees from any loss, cost, darnage, expense and liability, Including reasonable

__ attorneys’ fees and any court costs, by reason of damage or loss, including personal injury, of whatsoever
nature or kind, arising from or connected with the business of the Franchised lnn or any department
thereof, or operated In conjunction therewlth, or out of, oras a result of, any error, omission, act or failure on
the part of Franchisee, its agents or employees, except where such loss, costs, damage, expense or
liability Is proximately caused by negligence of Quality, Its agents or employees.

23. ATTORNEYS’ FEES. In the event that any action is filed to enforce the terms and conditions of
thls Agreement, the prevalling party (as determined by the Court) shall be entitled to recover from the other
party reasonable attorneys’ fees and court costs: The partles agree that any money judgment rendered
hereon shail provide for interest at the rate referred fo in paragraph 2(g).

24, NOTICES. ;

(a) Allnotices pertaining to this Agreement by one party to the other shall be sent by registered or
certified mall addressed to Quallty or Franchisee, as the case may be. If fo Quality, Qualify Inns
International, Inc., Attn: General Counsel, 10750 Columbia Pike, Silver Spring, Maryland 20901 .and if to.

Franchisee, _-Ariav/Widell Real Properties, 120 St, Paul Street, Westfield, New
Jersey 07090 :

—$—

 

 

or such other address as either party shall designate by written notice to the other from time to time. Any
notices complying with the provisions hereof shall be deemed to be given on the date of mailing.

(b) If Franchisee or any successor of Franchisee Is a corporation, partnership or joint venture, it
shall furnish to. Quality the name of a designated individual to act as representative of Franchisee in
connection with all matters pertaining to this Agreement and Quality shall be entitled to rely on the acts and
representations of such individual as being authorized by and for Franchisee, provided, however, that the

designated individual may be changed from time fo time by written notice to Quality. Franchisee
designates William J. Calinin

 

to be such representative.

25. Quality agrees to spend one-half of the continuing franchise fees received by Quality from the x
initial Franchisee for the first twelve (12) months of the Franchised {nn’s operation in the System, on

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advertising of the Franchised Inn. Sald advertising shall bé developed by Quality and submitted to
Franchisee for approval in advance. This advertising will be directed to radio, television, newspapers,
and/or magazines. Sala or other conveyance of the Franchised Inn shail not extend the period of the

foregoing advertising allowance. This advertising allowance is not applicable to Inns owned or operated by
-Quality’s-affiliates: ~~~ taenee ete tenet eneecieedcnemetrnmet meonaeenege fe eetenseen tame ateee ce nie nee ee

 

26. Franchisee acknowledges that the Systern and this license relate only to the Comfort inn System,

that Quallty operates a separate Quality Inn System of hotels and motels and a separate Quality Royale
Hotel System of hotels.

27. Quality does not represent or guarantee that the Franchised Inn will receive a specified amount or
number of reservations through the Quality System, or that the Franchised Inn's reservations or revenue
will increase by a specified number, amount or percentage. By its execution hereof, Franchisee represents

and acknowledges that it has relied on no representations, written or oral, except fo the extent specifically’
set forth herein. ‘

28. By the execution hereof, Franchisee acknowledges that it received from Quality the Basic
Disclosure Document required by the Federaj Trade Commission at the earller of: (1) the Franchisee’s first
personal meeting with a representative of Quallty to discuss the franchise sale; or (2) ten business days
prior fo the eatlier of the execution of this Agreement or the payment of any consideration to Quality In
connection with the sale of this franchise. Franchisee also acknowledges that if received, at the appropri-
ais time, any disclosure document required under the laws of the state where Franchisee was domiciled at
such flme or where the Franchised Innts tobe located. Franchisee further acknowledges that Quality gave
the completed execution copies of this Agreement and any related agreements to the Franchisee at least
five business days prior to actual execution by the Franchisee. ‘

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IN WITNESS WHEREOF, the partles hereunto set their hands and seals as of the day and year first above

 

 

 

written.
ATTEST: . QUALITY INNS INTERNATIONAL, INC,
Lvece rs hy, Gaaes Li lonte~. LS.
Everett F- Casey, Assistant yecretayy. ~Fréderigkw. Mosser,
-. shs/#7 Senior Vice President-Development

WITNESS/AFESF: ARJAY/WIDELL REAL PROPERTIES

A New Jersey General Partnership
Franchisee

ach a va By Ld

 

 

Ralph 'C. Del Prfore
General Parther

oy eQu Whey sy,

ty Ch 7) * John Wiley
General Partne

 

SCHEDULE A

1. Legal organization of Franchisee; corporation. partnership or other:

_ A New Jersey General Partnership.

2, Name(s) and address(es) of all person(s) owning interest in Franchisee and percentage of said person(s)
interest:

Ralph €. Del Priore 50%
Marlanne Court

Alpine, New Jersey 07620

General Partner

John Wiley . "50%
230 Sylvania Place

Westfield, New Jersey 07090
General Partner

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Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 31 of 66 PagelD: 35

‘ ADDENDUM

COMFORT INN West (NJ403)
West Atlantic City, New Jersey
Page 1 of 2

The Franchise Agreement ("Agreement") dated May 6, 1987 as
amended, between Choice Hotels.Franchising, Inc. (formerly Choice
Hotels International, Inc.), a Delaware corporation (Choice) and:
Arjay/Widell Real Estate Properties, a New Jersey General
Partnership (Franchisee) is hereby amended by the following:

1. Franchisee agrees to make the following changes and
additions to upgrade the Hotel to, mest the Franchisor’s standards
or to cure existing deficiencies in accordance with the following
schedule, at which time the Hotel will be reinspected:

TO Su COMPLETED BY MAY 21, 1997

Guest. Rooms:

~ a) Install required electronic locks on all quest
room entrance doors.

2. Franchisee accepts the restructured marketing fee of 2.1% of
the preceding month's gross room revenues including the .
_ supplemental marketing fee effective May 21, 1997.

3. Franchisee agrees to increase the hotel’s insurance coverage ~
to comply with Choice’ Ss current insurance requirements by March
al, 1997.

4. Franchisee acknowledges and agrees that the changes set

forth above are in addition to Franchisee’s continuing obligation

to comply with the Rules and Regulations pursuant to paragraph
5(b) of the Agreement.

IN WITNESS WHEREOF, the parties hereunto have set their hands and
seals.

   
    
     

CHOICE HOTELS FRANCHISING, INC.

 

Everett F. Casey
Assistant Secr

Name: « Kifeu- Aratsick)
7 Title: Em jug adferayor”
Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 32 of 66 PagelD: 36

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Page 2 of 2 .
COMFORT INN West (NJ403)

' ARJAY/WIDELL REAI PROPERTIES, a New
‘ Jersey General Partnership

oy’ (00D VOR Vyeore _u.s.

Ralph €. Del Priore;
General Partner

4 oh Yea ous.
John Wiley, Cpe Partner

WITNESS/ATTEST :

   

 

ATTEST: CHOICE HOTELS FRANCHISING, INC.
(formerly CHOICE HOTELS
INTERNATIONAL, INC.)

@

» le fel

Name: pod Sibley
Title: . :
Sr VP Franchise Operations

Over,

Everett F. Casey ~ (
Assistant Secretary

 
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EXHIBIT B

"7199

- Property Code NI403
* Comfort Inn

TECHNOLOGY SERVICES AGREEMENT AND SOFTWARE'LICENSE:

(Profit Manager - Sunburst - Purchase}

‘This Agreement ("Agreement") i is made and entered into as of the date set forth below, by and between CHOICE
HOTELS INTERNATIONAL, INC., a Delaware corporation ("CHOICE") and Arjay/Widell Real Properties, a New
Jersey general partnership (“You”) with respect to Your hotel located at 7095 Black Horse Pike , West Atantic, City,.NJ
08232 ("Licensed Property").

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L SOFTWARE LICENSE

(A) CHOICE hereby grants and You hereby accept a non-transferable, nonexclusive, limited license (or
sublicense, as appropriate) to use the CHOICE. Reservation System Software described in Schedule 1 hereto, including
basic material and related documentation and manuals (the “Software”), for the term of this Agreement. _

(B) The license granted under this Agreement authorizes You to use the Software only on computer equipment
specifically authorized by CHOICE for use in conjunction with the Software and located at the Licensed Property (the
"Yardware"). If the Software is used on more than one computer system, an additional license will be required. If the
Hardware becomes inoperative due to malfunctioning or is replaced by new Hardware, the license granted under this
Agreement will extend to any substitute or replacement Hardware.

(C) This license and any of the programs or materials to which it applies may not be assigned, sub-licensed or
transferred by You without CHOICE’s prior written consent, which CHOICE in its sole discretion may grant or deny. You
do not have a right to print or copy, in whole or in part, fhe Software or any updates to the Software.

(D) CHOICE will provide You with all updates and enhancements, if any, to any Software as they become
available. .

(E) . CHOICE will provide You with programming services after delivery of the Software, without additional
charge, to correct.Software errors, issue corrected releases and provide enhancements. However, CHOICE does not
guarantee service results or that all errors will be capable of correction. CHOICE reserves the right to make additional
charges for any additional efforts required to provide services resulting from Your modifications of the Software, use of
other than the latest ‘available release of the Software oruse of other unauthorized software in conjunction with the
Software.

(F) All programs furnished by CHOICE, drawings, diagrams, specifications, documentation and other material
relating to the use and service of the Software is confidential and the proprietary property of CHOICE (or a licensor of
CHOICE) and You shall acquire no rights in them except to use them for the purposes of ‘this Agreement. You may not
sell, rent, disclose; loan or otherwise communicate or make available this information to any person and You agree to take

all reasonable precautions to maintain its confidentiality. All proprietary property will be returned to CHOICE upon the
termination or expiration of this Agreement. ’

(G) WE WARRANT THAT THE SOFTWARE WILL PERFROM THE FUNCTIONS AND OPERATIONS
WE SPECIFY ON YOUR HARDWARE (BUT NO OTHER HARDWARE), PROVIDED YOU FOLLOW OUR
WRITTEN INSTRUCTIONS, INSTALL UPDATES AND MODIFICATIONS AND MAKE CORRECTIONS AS
DIRECTED, AND ARE NOT IN DEFAULT UNDER THIS AGREEMENT OR THE FRANCHISE AGREEMENT,
OUR SOLE OBLIGATION UNDER THIS WARRANTY SHALL BE TO REMEDY ANY NONPERFORMANCE OF
THE SOFTWARE WITHIN A REASONABLE TIME AFTER YOU REPORT IT TO US. WE DO NOT WARRANT IN
ANY WAY THE PERFROMANCE OR FUNCTIONING OF THE SOFTWARE UNLESS IT IS UTILIZED AS PART
OF THE HARDWARE. ALL WARRANTIES UNDER THIS SUBSECTION ARE CONTINGENT UPON PROPER
USE OF THE EQUIPMENT AND SHALL NOT APPLY IF YCU FAIL TO COMPLY WITH OPERATING
INSTRUCTIONS, MAKE OR PERMIT THE UNAUTHORIZED ALTERATION OR REPAIR OF THE HARDWARE

TSA&SL Page - 1 NJ403
2 SOFTWARE WE
OR SOFTWARE, OR FAIL TO JMPLEMENT ALL UPDATES OR CORRECTIONS TO THE
MAKE AVAILABLE To YOu. YOU FURTHER UNDERSTAND AND ACKNOWLEDGE THAT CHOICE MAKES

FOR INDIRECT, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE USE OF OR,
INABILITY TO USE THE SOFTWARE.

CHOICE WARRANTS THAT THOSE PORTIONS OF THE SOFTWARE WHICH WERE DEVELOPED
DIRECTLY BY OR FOR. CHOICE (“CHOICE'S PORTION OF THE SOFTWARE”) WILL STORE, PROCESS,
CALCULATE, COMPARE AND SEQUENCE DATE DATA PRIOR TO, DURING AND AFTER CALENDAR

2000, WITHOUT ERROR RELATING TO DATE AND TIME DATA, INCLUDING ANY ERRORS RELATING TO,
OR THE PRODUCT ‘OF, DATE AND TIMB DATA THAT REPRESENTS DIFFERENT CENTURIES OR. MORE
THAN ONE CENTURY, INCLUDING LEAP YEAR AND LEAP DATE CALCULATIONS, WHEN USED IN
ACCORDANCE WITH THE ASSOCIATED DOCUMENTATION AND SPECIFICATIONS AND PROVIDED THAT
ANY AND ALL HARDWARE, FIRMWARE AND SOFTWARE USED IN COMBINATION WITH OR WHICH

2000 COMPLIANT. THIS WARRANTY DOES NOT COVER ANY MALFUNCTIONS OR FAILURES OF.
CHOICE’S PORTION OF THE SOFTWARE ARISING FROM ANY ALTERATIONS, ADDITIONS, OR
MODIFICATIONS MADE TO IT BY YOU WITHOUT THE PRIOR EXPRESS WRITTEN CONSENT OF CHOICE.
IN NO EVENT SHAL! CHOICE BE LIABLE TO YOU OR ANY THIRD PARTY FOR ANY CLAIMS OF

CONSEQUENTIAL, INDIRECT, INCIDENTAL, SPECIAL OR PUNITIVE DAMAGES, LOSSES OR COSTS.
iI. COMMUNICATIONS

CHOICE will make available for rental to ‘You 4 satellite communications system. (or such other alternative form.

of data transport aS CHOICE may designate) from. Hughes Network Systems, Inc. (or such other provider as CHOICE -
may designate).to provide access for comptter-to-computer communication between the Hardware located at the Licensed
Property and CHOICE. You agree not to disconnect or otherwise remove {he Hardware from its on-line status with
CHOICE for more than, one (1) hour during any 94-hour period, unless You pive CHOICE reasonable advance notice and,
- frequested by CHOICE, provide an altemative means of sending, and receiving information. You acquire no ownership

rights with respect to the satellite communications system.
tl, CHOICE’S OBLIGATIONS
CHOICE agrees to provide the following to You:

(A) on-going support relating to maintenance, problem solving and use of the Software. CHOICE will
provide to You telephone assistance on all problems or questions relating to the use and operation of the
Software. This service will be available continuously 24 hours per day, 7 days 4 week and will be

staffed by personnel trained in the use, operation and maintenance of the Software;

@) any and all enhancements and modifications to the Software;
(C) configuration and on-site installation services for the Software;

() a one-time, on-site training session relating to the use of the Software;

(E) installation, support and on-goin i i i
| g maintenance relating to any satellite communications system require
or recommended by CHOICE, as provided through Hughes Network Systems, Inc (or such the ‘
provider as CHOICE may designate); . he ore

F) one (1) copy of the Software (whi
this Agreement); (which must be returned to CHOICE upon the expiration or termination of

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NJ403
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(G)

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support and on-going, on-site maintenance relating to the Hardware which will be in addition to and
extend the manufacturer's warranty (and which will be provided to You by a third-party provider), and

’ the Hardware You have orderéd for purchase.

tv. YOUR OBLIGATIONS

Throughout the Term of this Agreement, You agree to:

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(C)
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(E)
)

(G)

)

VY. PAYMENTS

(A)

8)
(C)

(D)

€)

follow all CHOICE installation, operation and maintenance instructions;
provide the CHOICE specified environment and electrical and telecommunications connections;

provide access to the Hardware; Software and satellite system to enable CHOICE or third-party
providers to perform whatever services or activities. which are required or permitted under this
Agreement; .

provide adequate communication facilities, work space and storage space for CHOICE or third-party
provider visits; -

have a representative available during any on-site CHOICE or third-party provider maintenance activity;

maintain a procedure external to the Software program(s) and host computer for
reconstruction of lost or altered files, dafa or programs;

notify CHOICE, and not a third party service agent, of any condition which might require maintenance
service hereunder;

operate the Software only in conjunction with the authorized Hardware.

In exchange for the items to be provided to You under Sections II (C), (D), (F} and (H) of this
Agreement (and including taxes and shipping charges for the Hardware and Software and our travel
costs associated with training), You must pay CHOICE, prior to delivery of the Hardware; an Up-front

Fee in the amount of $19,694.24.

Commencing on the first day of the month following installation of the Software, the monthly fee
("Monthly Fee") payable to CHOICE by You in exchange for the Software license and the items to be
rendered to You under Sections II (A), (B), (E) and (G) of this Agreement is $580.00.

You will be billed the Monthly Fee on the monthly invoice You receive from CHOICE for franchise and
related fees on or around the 15" of each month, and payment will be due on the first day of the
following month. ,

Upon written notice ts You, CHOICE will be entitled to change the Monthly Fee to reflect any and all
increases or decreases in the cost of providing the services to be rendered to You by CHOICE (or any
third-party acting on CHOICE’s behalf), so long as any such increases are applied to substantially all
franchisees using the Software and Hardware. ;
The following are not covered by the Monthly Fee and will be billed separately by CHOICE in addition
to the Monthly Fee: (i) services, consultations or activities requested by You and not included in
Sections III (A) - (D) of this Agreement, (ii) additional training beyond the training session addressed in
Section IM (D), (iii) costs or charges incurred by CHOICE (or a third-party provider) which result from
a request by You to expedite services, and (iv) costs or charges incurred by CHOICE (or a third-party

provider) which result from Your misuse of the Software or breach of any obligation contained in this
Agreement. ‘ .

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©). ° Youwill pay 4 service charge of 1.5% per month or the maximum amount allowable by applicable laws,
whichever {s fess, on all delinquent Monthly Fees.

Vi. TERMINATION

The term of this Agreement will begin when it is fully signed and will continue until it terminates upon the
occurrence of any of the following events:

(A) on 30 days’ prior written notice from CHOICE, so long as CHOICE or CHOICE's suocessor offers You
a replacement agreement in connection with reservation technology services;

(B) on termination or expiration of Your Franchise Agreement with CHOICE;

(C) - on Your failure to keep, observe or perform any term, obligation, condition or covenant contained in
this Agreement, in the Franchise Agreement or in the Rules and Regulations (however, CHOICE tay, at its option,
reinstate this Agreement if You subsequently cure Your defaults); and

(DP) on Your failure to keep, observe or perform any term, obligation, condition or covenatit contained in any

agreement, lease or eub-leage entered into by Vou in comection with the Hardware or Software.

VIL HARDWARE

You must update or replace the Hardware, as required by CHOICE, th order to accommodate changes and
updates fo the Software.

VILL GENERAL

. {A) This Agréement can be modified only by 2 written agreement signed by persons authorized to sign such
agreements on behalf of CHOICE and You. ,

. . 2
. (By CHOICE wili not be held responsible for any delay or failufe to provide any service or perform any act

requited hereunder, in whole or in part, due fo the following factors as they affect CHOICE or its agents of
representatives: Federal, state or municipal action or regulation; strikes or other labor troubles; fire: damage, accident oy
other casualty; failure or delay i twansportation, shortagés of raw materials, labor, fuel or supplies and sabotage,
insurrection, riot or other acts of civil disobedience or ofta public enerny.

(Cy In the event either party finds it necessary to employ legs} counsel or to bring an action at Inw or other
proceedings against the other party to enforce any of the provisions of this Agreement, the party Prevailing in suoh action -
or proceeding shall be paid all reasonable attorney's fees and expenses by the other party.

(P) ‘The headings of the various sections of the Agreement have been inserted for conveniences only and will
have no substantive effect, | fany provision of this Agreement is deemed to be invalid or unenforceable, the remainder of
this Agreement will not be affected by it,

() You agree to indemnify and hold CHOICE and its affiliated companies (including their respective
officers, directors, employees, agents and representatives’) harmless from and against any and all loss, liability and expense
(including court costs and reasonable attorney's fees) relating to third party claims, demands, or actions arising out of ot in
any way related to Your negligence or wil)ful misconduct in: the Possession, use and Operation of the Software:
unauthorized modifications to the Software; use of other than the latest version of the Software; or the unauthorized use of
other software in conjunction with the Software. ‘

(F) CHOICE will not be liable for consequential or incidental damages or lost profits even if CHOICE has

been advised of the possibility of such damages, and in no event will CHOICE's liability for damages, regardless of the
form of action, exceed the charges actually paid by You under this Agreement.

(G) You tay not assign this Agreement without the prior writer, consent of CHOICE,

. (H) —_— Notices under this Agreement will be sent to the Same address indicated in the Franchise Agreement.
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(1) ‘The failure of either party to insist on strict performance of any of the provisions of this Agreement or to
exercise any right it grants will not be construed as a relinquishment or future waiver; rather, the provision or right will

continue in full force. No waiver of any provision or right will be valid unless it is in writing and signed by the party
giving it. .

~ (Jy. You will be responsible for the payment of all taxes in connection with this Agreement, except for any tax
based on CHOICE'’S net income.

(K) This Agreement will be governed by the laws of the State of Maryland.

. Cd) . The terms of any applicable Schedules and of any agreements or other materials referred to in this
Agreement are incorporated in and made part of this Agreement. :

(™) YOU ACKNOWLEDGE THAT YOU HAVE READ THIS AGREEMENT, UNDERSTAND IT
AND AGREE TO BE BOUND BY ITS TERMS AND FURTHER AGREE THAT IT IS THE COMPLETE AND
EXCLUSIVE AGREEMENT BETWEEN THE PARTIES, WHICH SUPERSEDES ALL OTHER PROPOSALS

ORAL OR WRITTEN AND ALL OTHER COMMUNICATIONS BETWEEN THE PARTIES RELATING TO
THE SUBJECT MATTER OF THIS AGREEMENT.

(N) _- This Agreement shall supersede any and all previous agreements executed between CHOICE and You
with respect to reservations technology. ,

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° MB-KMW Document 1-1 Filed 10/07/10 Page 38 of 66 PagelD: 42

f\ INW SS WHEREOF, the parties hereunto, set their hands.and seals a5 ofthe day of
op 49-2000, : .

CHOICE HOTELS INTERNATIONAL, INC.

Michagt J. DeSantis, Seniot (Seat ident

 

NJ403 Arjay/Widell Real Properties, 2 New Jersey general
partnership

Arjay/Widell Real Properties, a New Jersey general
Witness: partnership

 

 

 

 

Name: . , oh
Title: Title: General Partner.
Date: 3/ off aoe
Witness:
é ,
; : By: q obins C Diag LS.
Name: Name: John Wiley
Title: Title: General Partner

Date: z/aqfec

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Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 39 of 66 PagelD: 43

1

SCHEDULE I

Description of Software licensed or sublicensed to You (which may be amended, updated or replaced from time to time,
as reauired by CHOICE):

qd) Profit Manager by Choice Hotels

(2) RevPAR Maximizer/Forecast

(3) ChoiceLink for Windows, including Talaria
(4) ChoiceLLink Interface

(5) Protocol Technologies Interface (sublicense)

(6) Interface Manager (sublicense) ,
Interfaces: Call Accounting, Credit Card, PBX

(7) Microsoft SQL Server and Client (sublicense)
(8)  GBMail (sublicense)

(9) McAfee VirusScan (sublicense) .

(10) peAnywhere (sublicense)

(11) Starburst (sublicense)

(12) Protobase/PBAdmin (sublicense)

7/20/99

TSA&SL Page -7 NJ403
Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 40 of 66 PagelD: 44

Nj4o2
EXHIBIT C

ASSIGNMENT AND ASSUMPTION OF FRANCHISE AGREEMENT

THIS ASSIGNMENT AND ASSUMPTION OF FRANCHISE AGREEMENT
(“Assignment”), dated August 22, 2003, by and among HFC COMMERCIAL REALTY, INC.,
a Delaware corporation (the “Assignor”), TROCKI HOTELS. LP., a Néw Jersey limited
partnership, DR. IRA TROCKI, an individual (collectively, the. Assignee), and CHOICE
HOTELS INTERNATIONAL, INC. (the “Franchisor”)

WITNESSETH:

WHEREAS, Assignor and Trocki Hotels L.P. entered into that certain Real Estate Sale
Agreement dated July3, 2003, as amended by that certain Amendment to Real Estate Sale
Agreement dated July 24, 2003, demising certain premises located in Ege Harbor, Atlantic
County, New Jersey and legally described on Exhibit“A”, which is attached hereto and

incorporated herein by this reference (the “Property”),

WHEREAS, the. predecessor in interest of Assignor (the “Original Franchisee”) and the
predecessor in interest of Franchisor. previously entered into a Franchise Agreement (as may be
amended, the “Franchise: Agreement”) dated May 6, 1987, which ‘granted to the Original
Franchisee the non-exclusive right and franchise to operate a Comfort Inn on the Property.

WHEREAS, the Original Franchisee filed a petition in the United States Bankruptcy
Court (the “Court”), During the bankruptcy proceedings for the Original Franchisee, Assipnor
assumed all of the Original Franchisee’s rights under the Franchise Agreement pursuant to an
order by the Court,

WHEREAS, Assignor desires to assign all of its right, title and interest in the Franchise
Agreement to Assignee and Assignee desires to accept such assignment and assume all of the
obligations of the Assignor under the Franchise Agreement, :

WHEREAS, the Franchisor has consented to such assignment and: assumption of the
Franchise Agreement.

AGREEMENT

NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, and intending to be legally bound, the parties agree as follows:

1. Assignment. Effective as of the date hereof, Assignor hereby assigns, transfers,

and conveys to Assignee all of Assignor’s right, title and interest as franchisee in and to the
Franchise Agreement. '

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2. Assumption. Effective as of the date hereof, Assignee hereby assumes all
_ liabihties and obligations of Assignor tinder the Franchise Agreement and agrees to perform all.
. obligations of Assignor under the Franchise Agreement.

 

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Consent-and Release.

(a) Franchisor hercby consents to the assignment and assumption of the
Franchise Agreement as set forth herein.

(b) Franchisor acknowledges that, as of the date hereof, Assignor is no longer
obligated to perform any further-obligations under the Franchise Agreement and all rights
and privileges granted to’ Assignor in the Franchise Agreement are hereby revoked, Ag
of the date hereof, Franchisor, on behalf of itself and its heirs, successors and assigns,
hereby fully and forever releases and discharges the Agssignor, any guarantor of the
Franchise Agreement and their respective, subsidiaries, affiliates, divisions, successors
and assigns, together with their respective officers, directors, agents and employees, from
any and all claims; fees, demands, rights, liens, agreements, contracts, covenants, actions,
suits, causes of action, obligations, debts, costs, expenses, ‘attomeys’ fees, damages,
judgments, orders or liabilities of any kind or nature, in law, equity or otherwise, whether
now known or unknown, suspected or unsuspected, which Franchisor now owné or holds .
or has at any time heretofore owned or held as against the Assignor or any guarantor of
the Franchise Agreement, arising out of or in any way connected with the Franchise
Agreement, or the assignment of the same, or any other transactions, occurrencés, acts of
ornissions or any loss, damage or injury whatsoever, known or unknown, suspected or
unsuspected, resulting from any act or omission by or on the part of the Assipnor hereto-
committed or omitted prior to the date of this Agreement, including, but not limited to
any and all claims for attorneys’ fees and costs under any statute, regulation, or judicial

" precedent that shifts responsibility to either of the parties hereto for payment of attorney’s ;
fees and costs in litigation arising out of the Franchise Agreement or any guaranty
thereof, , ;

(c) As of the date. hereof, Franchisee, on behalf of itself and its heirs,
successors and assigns, hereby fully and forever releases and discharges the Franchisor,
and its respective, subsidiaries, affiliates, divisions, successors and assigns, together with
its respective officers, directors, agents and employees, from any and all claims, fees,
demands, nghts, liens; agreements, contracts, covenants, actions, suits, causes of action,
obligations, debts, costs, expenses, altorneys’ fees, damages, judgments, orders or .
liabilities of any kind or nature, in law, equity or otherwise, whether now known or
unknown, suspected or unsuspected, which Franchisee now owns or holds or has at.any
time heretofore owned or held as against the Franchisor, arising out of or in any way
connected with the Franchise Agreement, or the assignment of the same, or any other
transactions, occurrences, acts of omissions or any loss, damage ot injury whatsoever,
known or unknown, suspected or unsuspected, resulting from any act or omission by or
on the part of the Franchisor hereto committed or omitted prior ta the date of this
Agreement, including, but not limited to any and all claims for attomcys’ fees and costs
under any statute, regulation, or judicial precedent that shifts responsibility to either of

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Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 42 of 66 PagelD: 46

‘the parties hereto for payment of attormey’s fees and costs in litigation arising out of the
Franchise Agreement. — .

4, Tertnination of Franchise Agreement. Assignee and Franchisor agree that the -
Franchise Agreement is hereby-amended so that the Franchise Agreement will taminale on the
earlier of 30, 2003 or such date that Assignee and Franchisor enter info a new

Comfort Inn fran¢hise parcement for the Property.

5. Payment of Fees. Notwithstanding Section 3(a) of this Assignment, Assignor
agrees to pay Franchisor any fees that it owes Franchisor for the period of time ending on. the
date prior to the day Assignor conveys title to the Property to Assignee.

6. Assumption Fee. Assignee shall pay Franchisor an assignment of $2,500, which
will be wired to Franchisor’s account following closing on the sale of the Property. -

7. Binding Effect. This Assignment shall be binding upon and inuye to the benefit
of Assignor,; Assignee and their respective successors and agsi pus,

8. Counterparts. This Assignment may be executed in two or more counterparts.

[REMAINDER OF PAGE INTENTIONALLY LEFT BLANK}

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Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 43 of 66 PagelD: 47

IN WITNESS WHEREOF, this Assignment and Assumption of Franchise Agreement has been
executed on the dafe and year first above written,

ASSIGNOR:

HRC COMMERCIAL REALTY, INC., a Delaware
corporation

    

By:

 

Timothy P. Shanley, Vice Presldent

ASSIGNEE:
TROCKI HOTELS, LP., a New Jersey lirnited
Partnership

By;
Name:
Title:

 

 

 

 

 

DR. IRA TROCKI

 

 

FRANCHISOR:
CHOICE HOTELS INTERNATIONAL, INC.

» By:
Name:
Title:

 

 

 

 

 

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Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 44 of 66 PagelD: 48

IN WITNESS WHEREOF, this Assignment and Assumption of Franchise Agreement has been
“execired on THe < dateand-year firstabove-wnitten:

O1-505868.1

corporation

ASSIGNOR:
HEC COMMERCIAL REALTY, INC., a Delaware

  

By:

Timothy P.
ASSIGNEE:
TROCKI HO , LP, @ New Jersey limited
partnership L (
By:

 

 

 

 

o

Name! By \o) Hae ds ba Y
Title: __ Dr sccctf, :

DR. IRA TROCKI

fu

FRANCHISOR:

CHOICE HOTELS INTERNATIONAL, INC.

 

 

 
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EXHIBIT “4”
LEGAL DESCRIPTION

LEGAL DES Se

ALL that certain lot, tract or parcel of land and premises situate in the Township of Egg Harbor,
County of Atlantic and State of New Jersey, and being more particularly described as follows:

BEGINNING at a point where the Southeasterly line of Dover Place (50 feet wide) 1S intersected
by the Southerly line of Verona Boulevard (80 feet wide) alsa known 4s Black Horse Pike, US.
- Route 40 and 322, and extending thence

(1) Along the Southerly ime of Verona Boulevard, South 53 degrees East, a distance
of 365 feet to a point; thence .

(2) South 37 degrees West, a distance of 261.06 feet to a point; thence

3) North 9 degrees 30 minutes West, a distance of 85 683 feet to. a point; thence
(4) South &2 degrees West, a distance of 195 feet to a point; thence —

(5) South 37 degrees West, 2 distance of 320 feet to a pont ; thence

(6) North 53 degrees West, a distance of 165 feet lo 4 poit in the Hasterly line of
Dover Place; thence

(7)  Atong the Easterly line of Dover Place, North 37 degrees East, a distance. of 660
fect to a paint and place of BEGINNING.

BEING KNOWN AS Lot 1, Block 4305 (RIKJA Lot 3, Block 42H), on the Official Tax Map of
Egg Haxbor Township. .

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Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 46 of 66 PagelD: 50

EXHIBIT “4”
LEGAL DESCRIPTION

ALL that cettain lot, tract or parcel of land and premises situate in the Township of Egg Harbor,
County of Atlantic and State of New J ersey, and being more particularly described as follows:

BEGINNING at a point where the Southeasterly line of Dover Place (50 feet wide) is intersected
by the Southerly line of Verona Boulevard (80 feet wide) also known as Black Horse Pike, U.S.
Route 40 and 322; and extending thence,

(1) Along the Southerly line of Verona Boulevard, South 53 degrees Past, a distance
oF 365 feet to a point; thence

(2) South 37 degrees West, a distance of 261.06 feet to a point; thence

(3) North 9 degrees 30 minutes West, a distance of 85.63 feet to a point; thence
(4) South 82 degrees West, a distance of 195 feet fo a point; thence

(5) South 37 degrees West, a distance of 320 feet to a point ; thence

(6) North 53 degrees West, a distance of 165 feet to a point in the Easterly line of
Dover Place; thence mo

-(7). Along the Easterly line-of Dover Place, North 37 degrees East, a distance of 660
feet to a point and place of BEGINNING.

BEING KNOWN AS Lot 1, Block 4305 (FAC/A Lot 3, Block 42H), on the Official Tax Map of
Egg Harbor Township.

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_ Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 47 of 66 PagelD: 51

CHOICE HOTEL
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R6éb Hottlé “~~ ~
Regional Vice Preejdent
Franchise Seroleds

‘
. Rugust27; 2004

Ira Trocki

Trocki Hotels, Lp
631 Tiflon Road
Northfield; NJ- 8225

Ret NJ403 = Comfort Inn West Bayside Resort - West Atlantic City

Dear Franchisee:

Your Choice Hotels Franchise Service Director recently conducted a quallty assurance review at your hotel. A
copy of the Quality Assurance Review (QAR) was discussed and left with the property manager or hotel

representative, ;
Congratulations, a!l areas evaluated are currently passing brarid standards.

You may notice that tts form has been revised, reflecting recent changes in the quailty assurance process, The
QAR process now has a greater focus on those items that matter most to guests. You will note that the section
formerly shown as “Administrative” has been ellminated, and essential components of that sectién have been
incarporated into the Maintenance and Capltal Improvement section of the form. Starting In the second quarter of
2005, the QAR process will Incorporate data from the new Guest Satisfaction Survey that is now being tested,

Proactive RevPAR building and quality assurance assistance are hallmarks of Choice’s franchlse service efforts.
Our research.clearly shows that high product and service quality, and conststency, are important to today's leisure
and business travelers. We are confident that the new form, and enhancements to lhe quality assurance process,
will bring greater product and service consistency, leading to increased revenues and market share.

If you have any questions regarding the review, plaase contact your Franchise Service Director.

We appreciate your support of Choice Hotels and look forward to sharing your success in 2004t

_ Sincerely,

Rob Hottle, CHA
Regional Vice President, Franchise Services

Enclosure: Quality Assurance Review AUG 30 AM

cc: Master File

10750 Columbia Pi.e © Silver Spring, MD 20901 . Cell ¥ 704-905-6359 © Fax # 704-289-6664 « rob_hattle@chaicelwtels.cont
Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10. Page 48 of 66 PagelD: 52

 

CHOICE HOTELS

 

 

 

INTERNATIONAL Bea,
May 15, 2006 My ely
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— “ny if
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Trocki Hotels, LP, Trocki Holding, Inc.,
its General Partner, fra Trocki and Shari Trocki
Attn: . Mr. fra Trocki
.631 Tilton Road
Northfield, New Jersey 082225

RE: COMFORT INN West (NJ403A)
West Atlantic City, New Jersey

NOTICE OF TERMINATION
Dear Mr. Trocki:

Choice Hotels International, Inc. (“Choice”) notifies Trocki Hotels, LP, Trocki Holding,
inc.; its General Partner, ira Trocki and Shari Trocki (“Franchisees”) of Choice’s election to
terminate, on.the 10" anniversary of the Commencement Date, the COMFORT INN franchise
agreement and addendum between Choice and Arjay/Widell Real Properties, a New Jersey
General Partnership dated May 6, 1987 which was assumed by Franchisee. under an
Assumption Agreement dated November 21; 2003 - (“Franchise Agreement’) on May-21, 2007,
pursuant to paragraph 3 of the Franchise Agreement.

Choice hereby notifies Franchisee that the Franchise. Agreement and all related

agreements (the “Agreements’), pertaining to the above-referenced location, are terminated
effective May 21, 2007.

_ Franchisees’ use of Choice’s proprietary marks, including, but not limited to, the trade
name and service mark COMFORT INN®, must cease no later-than May 21, 2007. After that
date, Franchisees’ continued use of Choice's proprietary marks in éonnection with the above--
referenced hotel will constitute trademark infringement for which Franchisees will be liable to
‘Choice for additional daniages under the Agreements and the Lanham Trademark Act of 1946
‘and for which Choice may seek injunctive relief. We hope that it will not be necessary to do so, .
but are prepared to act accordingly if Franchisees fail to timely comply with the posi-terminaticn
obligations of the Franchise Agreement.

In addition, pursuant to paragraph 2 of the Franchise Agreement, all franchise and
related fees must be kept current.up to the date of termination. Choice could terminate the

franchise, after proper written notice, prior to Mey 21, 2007, should a default i in any of the terms:
of the Agreements occur.

10750 Columbia Pike « Silver Spring, Maryland 20901-4447 * 301-592-5000
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Mr: Ira Trocki
May 15, 2006
Page 2

if yourhave-any questions, please contact Dean Balj at (301) 592-6128.
Sincerely,

CHOICE HOTELS INTERNATIONAL, INC.

Bale,

Kevin M. Rooney
Associate General Counsel

ce: Certified Mail Number '71364200360700091234
General Manager
COMFORT INN West
7095 Black Horse Pike
West Atlantic City, New Jersey 08232

Rob Hottie, Regional Vice President of Franchise Services
Dean Baij, Brand Manager -

Sam Walters, Senjor Director, Credit and Receivables
Michael Ludden, Franchise Service Director

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CHOICE HOTELS

Via Fed Ex: INTERNATIONAL

 

May 24, 2006

" Mr. Ira Trocki
TROCKI HOTELS, LP
631 Tilton Road
Northfield, NJ 08225

Dear Mr. Ira Trocki:

It is our current business practice to notify each existing licensee in accoidance with the
company’s Impact Policies and procedures whenever an- application is received from an
inn seeking to join the Choice Hotels Intarnational system. .

_ Submission of an application does not constitute acceptance. The applicant is:

Applicant: — » COMFORT INN-NJ230.
. Conversion/Hampton Inn
7079 Black Horse Pike
West Atlantic City, NJ 08232
; 144 Rooms _
Under Choice’s Impact Policy, we have the right to replace hotels that are exiting the
Choice system. This application is a replacement of NJ403/Comfort Inn located at
7095 Black Horse Pike (US40) West Aflanti¢ City, NJ08232 that will be leaving the
Choice System. We urge you to consult with the ownership of the property for which you
serve as Designated Representative and determine whether you wish to file an objection
under our Incremental Impact Policy. For your convenience, the Incremental Impact
Policy and Formal Objection Forms are located on ChoiceCentral, under >Departments>
. Fair Franchising. If you ‘have any further questions or concerns regarding this notice, or

are unsure of the objection process as stated in Choice’s Inicremental Impact Policy,
please contact Derek Lawhorn, Ombudsperson, at (301) 592-6165, fax your objections
or comments to (301) 592-6360 or email your completed formal objection forms fo
Ombudsperson@choicehotels.com

Sincerely,

Evelyn Wills
Specialist, Admin Application

   

cc: General Manager - NJ403- COMFORT INN West Bayside Resort
Derek Lawhom ,

"10750 Columbia Pike » Silver Spring, Maryland 20901 * 301-592-5000
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CHOICE HOTELS

INTERNATIONAL

 

May 17, 2006

Certified Mail Number 71364200360700091555°

Trocki Hotels, LP, Trocki Holding,-Inc.,
its General Pariner, ira Trocki and Shari ‘Trocki
Attn: Mr. Ira Trocki
631 Tilton Road:
Northfield, New Jersey 082225

RE: COMFORT INN West (NJ403A)
West Atlantic City, New Jersey

NOTICE OF DEFAULT

Dear Mr. Trocki:

' The management of ‘Choice Hotels International, Inc. (“Choice”) has instructed me to

notify Trocki Hotels, LP, Trocki Holding, Inc., its Gerieral Partner, Ira Trocki and Shari Trocki
‘(‘Franchiseés”) of certain defaults in the ‘performance of Franchisees’ material obligations
required under the franchise agreement and addendum.betwéen Choice and Arjay/Wideil Real

' Propetties, “a New Jersey General Partnership dated May 6, 1987 which. was assumed. by
Franchisee under an’ Assuniption Agreement ‘datéd November: 21, 2003 (‘Franchise

Agreement’). Specifi ically, Franchisees are ‘in default of the’ following provisions - of ‘the
Franchise Agreement:

1. Failure to pay. when due monthly continuing franchise fees, monthly marketing
fees and monthly reservations services fees required by paragraphs 2(b), (c) and
’ (d) of the Franchise Agreement.

2. Failure: to pay other charges when due, including service charges and
membership dues of the Choice Hotels Operators Council as required by: the.
" Rules and Regulations and the Franchise Agreement.’

in addition, Franchisees are in default of the Technology Services Program Statement
- due-to-the nonpayment of fees due thereunder, FEB
HIF, 79.95

According to Choice’s records, the sum of $20,478-54 is now past due on thé open
account. Details of this delinquent account balance are stated in the enclosed copy of the.
Consolidated Statement dated May 15, 2006.

This wl advise Franchisees that all past due fees must be paid within 10 days of the
date of this letter; or. pursuant to the Rules and Regulations and paragraphs. 5 and 7 of the
Franchise ‘Agreement,. Choice ‘will discontinue reservations and marketing services until the
defalilts “are ‘cured ‘(including cessation of reservatioris): This action may be undertaken in

Choice's sole discretion and- without rediiction of fees accruing under the Franchise Agreement. -
if Choice discontinues reservations services, Choice will charge Franchisees a $5,000.00
fee to reinstate reservations services if. the default is cured before ‘termination of the |

Franchise Agreement. In addition, while the default remains. uncured, Franchisees have
no rights under Choice’s impact Policy.

10750 Columbia Pike » Silver Spring, Maryland 20901-4447 « 301-592-5000
Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 52 of 66 PagelD: 56

Mr. Ira Trocki . -
May 17, 2006

 

 

 

Page-2 a oo

In addition, if all past due fees cited in this letter are not paid within 10 days of the date
of this letter, at Choice’s option, Choice may terminate the Franchise Agreement and related
agreements for the above-referenced hotel (collectively referred to as the "Agraements’),

lf the Agreements are terminated due to Franchisees' failure to cure the above defaults,
Choice may begin legal action against Franchisees for outstanding amounts accrued through
the effective date of termination and for liquidated damages for Franchisees’ failure to perform
Franchisees’ obligations for the full term of the Agreements.

H you have_an estions, please conta rank Batelka. Corporate Asset Project

Manager at (301) 592-6104.

 

Sincerely,

CHOICE HOTELS INTERNATIONAL, INC.
ry wh
Director of Credit

Phone (301) 592-6162
Fax (301) 582-6275

cc: Certified Mail Number 71364200360700091562

General Manager

COMFORT INN West

7095 Black Horse Pike

West Atlantic City, New Jersey 08232 .

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CHOICE HOTELS

INTERNATIONAL
May 24, 2006

Certifled Mail Number 71 364200360700092521

Trocki Hotels, LP, Trocki Hoiding, Inc.,
its General Partner, ira Trocki and Shari Trocki
Attn: Mr. Ira Trocki _
631 Titton Road
Northfield, New Jerséy 082225

RE: COMFORT INN West {NJ403A)
West Atlantic Clty, New Jersey

NOTICE OF DEFAULT
Dear Mr. Trocki:

The management of Choice Hotels International, Inc. (“Choices”) has instructed me to —
notify Trocki Hotels, LP, Trocki Holding, Inc., its General Partner, lra Trocki, Shan Trocki
(“Franchisees”) of certain defaults in the performance of Franchisees’ material obfigations
required: under the franchise agreemerit and addendum between Choice and Arjay/Widell Real
Properties, a New Jersey General Partnership dated May 6, 1987 which was assumed by
Franchisee under an Assumption Agreement dated November 21, 2003 (‘Franchise

Agreement’). Specifically, Franchisees are in default of the following provisions of the
Franchise Agreement:

° Failure to respond to guest compiaints as required by section 5 of the Franchise
Agreement and by section 818.1 of the COMFORT INN Rules and Regulations.

This will advise Franchisees that this default must be completely cured within 30 days of
the date of this letter, or pursuant to the Rules and Regulations and paragraphs 5 and 7 of the
‘Franchise Agreernent, Choice will discontinue reservations and marketing services until the
defaults are cured (including cessation of reservations). This action may be undertaken in
Cholce's sole discretion and without reduction of fees accruing under the Franchise Agreement.
If Choice discontinues reservations services, Choice will charge Franchisees a $5,000.00
fee to reinstate reservations services if the default is cured before terrination of the
Franchise Agreement In addition, while the default remains uncured, Franchisees have
no rights under Choice’s Impact Policy.

In: addition, if the defaults cltec! In this fetter are not cornpletely cured within 30 days of
the date of this letter, at Choice's option, Choice may terminate the Franchise Agreement and
related agreements for the above-referenced hotel (collectively referred to as the
“Agreements”). If you fail to contact Choice within 30 days to inform us that all defaults. have

been reciified, | will assume that the items have not been cured.

10750 Columbia Pike « Silver Spring. Maryland 20901-4447 * 301-592-5100
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- Mr--tra-Trocki- ~
May 24, 2006
Page 2

if the Agreements are terminated due fo Franchisees’ fallure to cure the above defaults,
Choice may begin legal action against Franchisees for outstanding amounts accrued through
the effective date of termination. and for lost profits damages for Franchisees’ failure to perform
Franchisees" obligations for the full ferm of the Agreements. _

if you have any questions, please contact Dean Tarasenko at (701) 858-5715. You
must fax all cure materials directly to Dean Tarasenko at (701) 858-5719,

Sincerely,

CHOICE HOTELS INTERNATIONAL, INC.

Kevin . Rooney

Associate Genera) Counsel Y

ec: ° Certified Mail Number 71364200360700092538
General Manager
COMFORT INN West
7095 Black Horse Pike

West Atlantic City, New Jersey 08232

Dean Tarasenko, Manager of Customer Relations

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wih ‘ bos : '

 

CHOICE HOTELS

INTERNATIONAL

 

June 19, 2006 .

Certified Mail Number 71364200360700095232

Trocki Hotels, LP, Trocki-Holding, Inc.,
its Géneral Partner, lra Trocki and Shari Trocki
Attn: Dr. Ira Trocki
631 Tilton Road
Northfield, New Jersey 08225

RE: COMFORT INN West (NJ403A)
West Atlantic City, New Jersey

NOTICE OF DEFAULT
Dear Dr. Trocki:

The management of Choice Hotels International, Inc. (“Choice”) has instructed me > to
notify Trocki Hotels, LP, Trocki Holding, Inc., its General Partner, [ra Trocki, Shari Trocki
(“Franchisees”) of certain defaults in the performance of Franchisees' material obligations -
required under the franchise agreernent and addendum between Choice and Arjay/Widell Real.
Properties, a New Jersey General Partnership dated May 6, 1987, which was assumed by
Franchisees under an Assumption Agreement, dated November 21, 2003 (“Franchise

Agreement”). . Specifically, Franchisees are in default of the following provisions of the .
Franchise Ag reemént

° Failure to insiall new Comfort Inn signs at the Hotel, as required by Section
600.1 of the Comfort Rules and Regulations.

This will advise that, if the default cited in this letter is not completely cured within 30
days of the date of this letter, at Choice’s option, Choice may terminate the Franchise
Agreement and related agreements for the above-referenced hotel (collectively referred to as
the “Agreements’). {f you fail to contact Choice within 30.days to inform us that all defaults have
been rectified, | will assume that the items have not been cured.

If the Agreement is terminated due to Franchisees’ failure to cure the above defaults,.
Choice may. begin legal action. against Franchisees for outstanding amounts accrued through

the éffective: date of termination and for lost profits damages for Franchisees’ failure to perform
Franchisees’ obligations for the full term of the Agreements.

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Dr. Ira Trocki
June 19, 2006
Page 2

If you have any questions, please contact Dean Baij at (301) 592-6128. You must fax
_all cure materials directly to Dean Baij at (301) 592-5621.

' Sincerely,

CHOICE HOTELS INTERNATIONAL, INC.

  
     

Kevin M. Rooney
Associate.General Counsel

  

cc: Certified Mail Number 71 3642003607 00005245
General Manager
COMFORT INN West
7095 Biack Horse Pike
West Atlantic City, New Jersey 08232

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June 19, 2006 | pPceevyy
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‘Certified Mall Number 71 3642003607000989 18

Trocki Hotels, LP, ‘Trocki Holding, Inc.,
its Genera] Partner, tra Trockt and Shari Trockd
Attn: “Dr. Ire Trocki
531 Titton Road a.
Northfield, New Jersey 08295

RE: COMFORT INN West (NJ403A)
West Atlantic City, New Jersey

NOTICE OF. DEFAULT ~

Dear Dr, Treoki.

Agreement’), _ Specifically, Franchisees ara. in ‘default of the following provisions of the
Franchise Agreement: -.

® Fallure to install High: Speed Inteitief Access in all atiest rooms, as rei uired b
Section 440.05 of the Comfort Rules and Regulations. “s ,

if the Agreement is terminated due fo Franchisees’ fallure to cure the abo 3
; r | ted q ne ve def
Choice may begin legal action against Franchisees for outstanding amounts acerued throust

the effective date oF fermination and fo} lost Profits damages for Franchisees' failure to perform

Franchisees Obligations. for the full tet of the Agreeinents.

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Dr. Sra Troeki
June 19, 2008
Page 2

If you Have any questions, please contact Dean Balj at (301) 92-8128. You must fax
all cure materiale directly to Dean Bail at (304 ) 592-5024,

Sheerely,

CHOICE HOTELS. INTERNATIONAL INC.

       
 

Kevin M. Rooney
Associate General Counsel -

Coy Certified Mail Number 74 38.4200380700098245
General Manager _ '
COMFORT INN West
7096 Black Horse, Pike

West Atlantic City, New Jersey 08239

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June 21, 2006

 

Certified Mail Number 71 3642003607000951 95

Trocki Hotels, LP, Trocki Holding, Inc., BY.
its General Partner, Ira Trocki and Shari Trocki

Attn: Dr. Ira Trocki

631 Titon Road .

Northfield, New Jersey 08225

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RE: COMFORT INN West (NJ403A)
West Atlantic City, New Jersey

NOTICE OF DEFAULT

. Dear Dr. Trocki: .

The management of Choice Hotels International, Inc. (“Chcice”) has instructed me to
notify Trocki Hotels, LP, Trocki Holding, Inc., its General Partner, Ira Trocki,, Shari Trocki
("Franchisees”) of certain defaults in the performance of Franchisees’ material obligations
required under the franchisé agreement and addendum between Choice and Arjay/Widell Real
Properties, a New Jersey General Partnership dated May 6, 1987, which was assumed by

Franchisees under an Assumption Agréement, dated November 21, 2003 ("Franchise
Agreement’). Specifically, Franchisees are in default of the following provisions of the
Franchise Agreement:

e -° Failure to establish and maintain a breakfast program at the Hotel in accordance
with the Comfort Sunshine Breakfast Program, as required by Section 200 of the
.Comifort Rules and Regulations.

This will advise. that, if the default cited in this letter is not completely cured within 30
days’..of the date of this letter, at Choice’s option, Choice may terminate the Franchise
Agreement and related.agreements for the above-referenced hotel (collectively referred. to as
the “Agreements’). If you fail to contact Choice within 30 days to inform us that all defaults have
been rectified, | will assume that the items have not been curéd.

_ If the Agreement is terminated due to Franchisees’ failure to cure the above defaults,.
Choice may begin legal action against Franchisees for outstanding amounts accrued ‘through .
the effective date of termination and for lost profits damages for Franchisees' failure to perform:
Franchisees obligations for the full term of the Agreements.

10750 Columbia Pike » Silver Spring, Maryland 20901-4447 « 301-592-5000
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Dr. Ira Trocki
June 21, 2006
Page 2

 

' If you have any questions, please contact Dean Baij at (301) 592-6128. You must fax
all cure materials directly to Dean Baij at.(301) 592-5021,

Sincerely,

CHOICE HOTELS INTERNATIONAL, INC.

       

evin M. Rooney
Associate General Counsel

cc: Certified Mail Number 71364200360700095225
General Manager
COMFORT INN West
7095 Black Horse Pike
West Atlantic City, New Jersey 08232

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CHOICE HOTELS

INTERNATIONAL

 

June 30, 2006.

VIA FEDERAL EXPRESS and
Certified Mail Number 7 SEAZDUSEUZODOEST 54

Trocki Hotels, LP, Trooki Holding, Inc.,
its General Partner, ira Trooki and Shari Trocki
Attn: - Mr. Ira Trocki.
631 Tilton Road
Northifiéid, New Jersey 08225

RE: COMFORT INN West (NJ403A)
West Aijantic City, New Jersey

NOTICE OF DEFAULT
Dear Mr. Trockt:

The management of Choice Hotels international, Inc. (“Choice”) has instructed me to
notify Trocki Hotels, LP, Trocki Holding, Inc., its’ General’Pariner, Ira Trocki and Shari Trocki
(‘Franchisees’) of certain defauits in the performarice’ of Franchisees’ material obligations
required under the franchise agreement and addendum between Choice and Arjay/Widell Real
Properties, a New Jérsey General Partnership, dated May 6, 1987, which was assumed by
Franchisees under an Assumption Agreement, dated November 21, 2003 (“Franchise

‘ Agreement’). Specifically, Franchisees are in default of Sections 5(a) and 5(b) of the Franchise
Agreement, as evidenced. by their failure to pass the most recént Quality Assurance Review,.
conducted on June 27, 2006, which demonstrates. that the Hotel does not meet the minimum
standards required - by the COMFORT INN Rules and Regulations. Encloséd for your

— 7"
— convenience is a copy of the most recent Quality Assurance Review.

within 30 days of the date of this letter, or pursuant: to ‘the Rules . ‘and "Rogulations and
‘paragraphs 5 and 7 of the Franchise Agreement, Choice ‘will discontinue reservations and
marketing services until the defaults are cured (including cessation of reservations). This action
may be undertaken in Choice's sole discretion and without reduction of fees accruing under the

_ Franchise Agreement. If Choice. discontinues veservations services, Choice will charge

- Franchisees a $5,000.00 fee to reinstate reservations services if the default is cured
before termination of the Franchise Agreement. In addition, while the default remains
uncuréd, Franchisees have no rights under Choice’s Impact Policy.

In addition, if the material default cited in this Notice is not cured within 30 days of the
‘date of this letter, at Choice’s option, Choice may terthinate the Franchise Agreement and

related agreements for the above-referenced hotel (collectively referred to as- the
“Agreements’).

10750 Columbia Pike * Silver Spring, Maryland 20901-4447 * 301-592-5000
Case 1:10-cv-05177-RMB-KMW Document 1-1 Filed 10/07/10 Page 62 of 66 PagelD: 66

Mr. tra Trocki
June 30, 2006
Page 2

Choice will contact Franchisees in order to schedule a follow-up Quality Assurance
Review shortly. This follow-up Quality Assurance Review will be conducted soon after
Franchisees’ 30-day cure period has expired. {n order to cure the material default addressed in
this Notice, the Hotel will have to receive passing grades on all sections of the follow-up Quality
Assurance Review. Finally, please note that in the event Franchisees refuse to permit the
follow-up Quality Assurance Review, Choice will assume that the material default addressed in
this Notice has not been cured.

if the Agreements are terminated due to Franchisees’ failure to cure the above defaults,
Choice may begin legal.action against Franchisees for outstanding amounts accrued through
the effective date of termination and for lost profits damages for Franchisees’ failure to perform
Franchisees’ obligations for the full term.of the Agreements.

if you have any questions, please contact your Franchise Service Director or his
or her supervisor, Rob Hottle, Regional Vice President, Franchise Services at (704) 238-
8732. ,

 

Sincerely,

CHOICE HOTELS INTERNATIONAL, iNC.

   

 
    
 

Kevin Mi. Rooney
Associate General Couns

CC: Certified Mail Number 71364200360700095768
GeneralManager  —
COMFORT INN West
7095 Black Horse Pike
West Atlantic City, New Jersey 08232

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ce CHOICE HOLELS
IL aug OF 208 INTERNATIONA!
BY! cnewe cee e serene August 4, 2006

Goilified Mall Number 713642003607 00099308

Trocki Hotels, LP, Trocki Holding, Inc., its General Partner,
ira Trocki and Shari Trocki

Attn: Dr. Ira Trocki

631 Tilton Road

Northfield, New Jersey 08225

RE: COMFORT INN West (NJ403A)
West Atlantic City, New Jersey

NOTICE OF TERMINATION
Dear Dr. Trocki:

_ By Notices of Default dated June 21, 2006 (regarding franchisees’ failure to obtain
proper signage) and June 30, 2006 (regarding the above-referenced hofel’s Quality Assurance
Review failure), respectively, Choice Hotels International, Inc. (“Choice”) notified Trocki Hotels,
LP, Trocki Holding; inc., iis General Partner, va Trocki and Shari Trocki (‘Franchisees’) that in
connection with the franchise agreement and addendum between Choice and Arjay/Widell Real
Properties, a New Jersey General Partnership, dated May 6, 1987, which was assumed by
Franchisees under an Assumption Agreement, dated November 21, 2003, (“Franchise
Agreément’), Franchisees were in default of Franchisees’ material obligations under the
Franchise Agreement. To date, these defaults have nat been cured. In particular, Franchisees _
have failed to install the signage required by the Comfort Rules & Regulations and have failed
to comply with the provisions of Sections 5(a) and 5(b) of the Franchise Agreement, as
evidenced by the above-referenced hotel’s failure to pass the Quality Assurance Review
conducted on August 1, 2006. ,

In view of the above-referenced maternal defaults and pursuant to Choice’s letters dated
June 21, 2006 and June 30, 2006 and Section 3(b)(3) of the Franchise Agreement, Choice
hereby notifies Franchisees that the Franchise Agreement and all related agreements
(‘Agreements") pertaining. to the above-referenced hotel are terminated effective October 7,
2006.

Franchisees’ use of Choice's proprietary marks, including, but not firnited to, the trade
name and service mark COMFORT INN®, must cease No jater than October 7, 2006. After
that date, Franchisees’ continued use of Choice’s proprietary marks in connection with the
above-referenced hote! will constitute irademark infringement for which. Franchisees will be
fable to Choice for additional damages under the Agreements and the Lanham Trademark Act
of 1946 and for which Choice may seek injunctive relief. We hope that it will not be necessary
to do so, but are prepared to act accordingly if you fail to timely comply with the post-
termination obligations of the Franchise Agreement.

10750 Columbia Pike » Silver Spring, Maryland 20301 4447 © 301-592-5000
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Dr, ira Trocki
August 4, 2006
Page 2

According fo Choice’s records, Franchisees’ estimated indebtedness fer outstanding

franchise and related fees accrued through August 4, 2006, totals $19,604.40 and Franchisees!
indebfedness for outstanding travel agent commissions accrued through August 4, 2006 total
$2,581.87. In addition, under paragraph 3(d) of the Franchise Agreément, Cholca is erttifled to
lost profits damages totaling $32,573.72 for the remaining term of the Franchise Agreement
through May 21, 2007, the 10" anniversary of the Opening Date,

Demand is hereby made on Franchisess for payment of the full amount of Choice’s
claim which, at present, totals $54,759.99. Should Choice’s demand not be paid in full, Choice
will proceed with appropriate legal action against Franchisees without further demands or notice

for the full ammount of the claim.

Sincerely,

CHOICE HOT INTERNATIONAL, INC.

Kevin M. Rooney
Associate General Counsel

cc: Certified Mail Number 714 364200360700099202

General Manager

COMFORT INN West

7085 Black Horse Pike .
West Atlantic City, New Jersey 08232

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Dr. tra Trocki
August 4, 2006
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INDICIA REMOVAL CHECKLIST

After the effective date of the termination of your franchise agreement, you must siop
using all items that contain Choice’s trademarks. This checklist Is intended to assist you with
the removal of items that may contain Cheice’s trademarks. This list ig not all-inclusive. All
other items bearing Choice’s trademarks must be removed, -

DOT Signs

Name Tags

Billboards ice Buckets
Property Signage Guest Service Directory |

’ Entrance Signage Sani-Bags
Building Signage Travel Directories:
Local Yellow Page Ad Ashtrays
Airport Advertising Phone Plate, Info Caddy
Lobby Display/Backdrop Matches
Owner's Plaque Brochures, Rack Cards, Flyers
Rate/Hotel Law Cards Guest Room Door Signage
Stationery/Guest And Office Do Not Disturb Cards
Shower Curtains Wastebaskets
Fire Evacuation Cards Sanitary Toilet Strips
Scap/Amenity Package  Pad/Pencil/Pen
In-Reom Organizers Guest Comment Cards
Cups/Glasses ‘Manner In Which Phone Is Answered
Van Signs Voice Mail

Folios
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Trocki hotels, LP, etal.
Attn: Dr. Ira Trockt
634 Tliton Road
Northfield, NJ 08225

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